Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 1 of 80

EXHIBIT B

Aircraft Sublease Agreement
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 2 of 80

FINAL VERSION

AIRCRAFT SUBLEASE AGREEMENT

dated as of January 31, 2020
between

HONDA AIRCRAFT COMPANY, LLC,
as Sublessor

and

WING SPIRIT INC.,
as Sublessee

 

Five (5) Honda Aircraft Company, LLC Classic model HA-
420 Aircraft and Ten (10) Honda Aircraft Company, LLC
Elite model HA-420 Aircraft

Each equipped with
Two (2) GE Honda Aero Engines model HF120-HIA

 

Counterpart No. 1 of 4 serially numbered manually executed counterparts. No security interest in
this document may be created through the transfer and possession of any counterpart other than
Counterpart No, |

735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21

SECTION 1.
SECTION 2.
SECTION 3.
SECTION 4.
SECTION 5.
SECTION 6.
SECTION 7.
SECTION 8.
SECTION 9.
SECTION 10.
SECTION II.

SECTION 12.

SECTION 13.
SECTION 14.
SECTION 15.
SECTION 16.
SECTION 17.
SECTION 18.
SECTION 19.
SECTION 20.
SECTION 21.
SECTION 22.
SECTION 23.
SECTION 24.
SECTION 25.
SECTION 26.
SECTION 27.
SECTION 28.
SECTION 29.
SECTION 30.
SECTION 31.
SECTION 32.

735890297

Page 3 of 80

Table of Contents

Page
Sublease of Aircraft... ee cesesecssececeenersseneseeeseeesessaseesesanenacsqestenesensevacecessaens l
Conditions Precedent; Closing Covenant...........ccccccssececseseeescesseseceesneeseansas l
No Partnership, Ct... ccc cccscseserreccceecseseessaneeereceeesensesesaensseanesetneneesnenevaetees 4
Base TCrin, ...c.cccccsscssscecseasscesenseesscessarseseeennerecseecssenevensnsnetssesssecnesneeesngeaesneseaenees 5
Required PayMents. ........scsccsecsssereeccesesecsecnsscrscerseenseeesetseeceaenteeeeeesseteeees 5
Wa rantics, Etc .....ccccsscsessececesressesesccesseseecsesessnesessssssnes Sseonaucocsuueansececensanersecensees 6
Subject and Subordinate 00.0... cceeccscseeesscneessneeseeaseseeszsecesanetaeesrssessrsasenssens 6
Representations and Warranties of the Sublessee oo... cee eceecetetesssersseeenes 7
COVENAMS 000... cccessscescessessnersnrecensecsseseceassenscesesensenssaeeassassaecsseessesaeeaeesttsassasnees 9
Negative Covenants .0.......scscscssssccscesseeserserssesessssesseaserssecereneseeaneseseestesseneeseats i
The Sublessce’s Payment Obligations... ccc ceeceesssescesessssssesessesseesssseeees 12
Security Deposits oe ecseseesseseseseeseeeecseeetececesseesauseesescsesenseseeteceatsneuseeseays 12
Identification Plates ...ssssssssssscscssssssesvscnsvvessevesessesssececseeesersssssessesseceuesesssoneeee 13
Modification/Improvements 0.0.0.0... :esssesccssecsseessescssccsessenescerssssseeesereensssaecesees 13
Registration, Maintenance and Operation ....0........ccccccscsscsescveccsctssensssessecsacaces 14
Compliance and Use... ces sesssescersesssseassessesesscssscscssesssnesceusecesesesscessasevavers 15
Aircraft Marking ........ccccccscssessesssessesserssseseesscssnsessearessesrescsseasssestausenevacuecarenans 16
IMSPOCUION. 0... ce eeesecsncesneoneneeseseenessesessesuessesesssancessssesnsssoseavenvaverssrecsenseeveesece 16
LOSS OF DeStructiOn ......ccescessesesscesscsnessssessesnsscseceuseesesseassavesssacsecsensesgsvessseneas 17
INSUTATICC eee eeceeseeeacensnnneeensrecsasseseoncesessavaesacessatseeasvessvacnssessseusnesesseessccasenseuss 18
Indemnification. ........0ccccccccsseseseecscneseeseeseeesesssecsenesesesssssscstseassnsesseesescsssasseas 20
LEASING... .eccsesescsevcsssscseserseescssscscecsscsceseeeeassesseacsssenssasscsensecassacaressersusecvsceveenencs 26
Sublessee Acknowledgement and Agreement... ccceecccccseceeesseceeceeteee 27
Events Of Default 00.0... ccccssessscecseesecscessesesesseecsesesssesseseerscsssarsesssvsvasesseesenses 27
REMCCICS......cesccesesssessensersenseesessenaseersseecsessensessepsceususuecsavsecansseessvaassesnaesuees 28
NOUCES oo. cceecseneesetseeteeecerereeesssnsssesseasssueerenesevecsssersssvevevasussesestseatavesseeraesasaes 30
Successors and ASSIZNS .........cccccsccsscesccecssesceseeesevevesveacssteastsssssvasesesssesatesensead I
Performance of Obligations of the Sublessee by the Sublessor .....0.00.0c. 31
Further ASSULANCeS 0.0... eeceteseeeteeesscesesesseseveesecsceccarserevarsenscsssuscavscessaevesaranes 32
Purchase Option; Return and Return Conditions........c...ccesssssesssecseeeeseseesssnee 32
MISCCHAMNCOUS oe eeceeececceeeeecenatsseseseesesessucssenensccsesceevscesssecensnevssuaracsevaracs 33
Certain Special Provisions... cccscsseseseesscssesesseesssrecessacssssrassaveveseseesseee dO
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 4 of 80

Table of Contents
(continued)

Page
SCHEDULE ] Insurance Requirements
EXHIBIT A Definitions
EXHIBIT B Agreement Supplement

EXHIBIT C Residual Value Amounts

ii
73SR90297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 5 of 80

AIRCRAFT SUBLEASE AGREEMENT

THIS AIRCRAFT SUBLEASE AGREEMENT, dated as of January 31, 2020 (as

 

 

sennmanian nemare amended and supplemented” from time” to time, ~t his” “Ag reement™” SEs” between HON DA nenternnmemneie oe eee
AIRCRAFT COMPANY, LLC, a Delaware limited liability company (the “Sublessor’), and
WING SPIRIT INC., a Hawaii corporation (the “Sublessee”). Certain capitalized terms used in
this Agreement are defined in Exhibit A hercto, and such definitions are hereby incorporated herein
and made a part hercof as though set forth herein in full.

WITNESSETH:

WHEREAS, on the date hereof the Sublessor has entered into the Lease pursuant to which
it will lease the Aircraft from the Lessor on the Delivery Date;

WHEREAS, on the Delivery Date, the Sublessee desires to sublease from the Sublessor,
and the Sublessor desires to sublease to the Sublessee, the Aircraft upon the terms and subject to
the conditions of this Agreement; and

WHEREAS, it is a condition to the willingness of the Sublessor to sublease the Aircrafl
to the Sublessee pursuant to this Agreement that the Sublease Guarantor guarantee the Sublessee’s
obligations under this Agreement and the other Operative Documents;

NOW, THEREFORE, in consideration of the mutual covenants herein contained and
other good and valuable consideration, the Sublessor and the Sublessee agree as follows:

SECTION I. Sublease of Aircraft. Subject to the terms and conditions of this Agreement,
the Sublessor hereby agrees to Sublease the Aircraft to the Sublessee, and the Sublessee hereby
agrees to lease the Aircraft from the Sublessor, in each case, pursuant to this Agreement and the

other Operative Documents.

SECTION 2. Conditions Precedent: Closing Covenants.

(a) Conditions to the Sublessor’s Obligations to Closing. The obligations of

the Sublessor to enter into this Agreement and to perform its obligations hereunder and thereunder,
are subject to satisfaction of the following conditions:

(i) the Sublessor shall have received a copy of this Agreement and the
Sublease Guaranty, each duly executed by the Sublessce or the Sublease Guarantor,
as the case may be, and all in form and substance reasonably satisfactory to the
Sublessor;

(ii) [Reserved].

(iii) the Sublessor shall have received a copy of the Sublessee’s articles
of incorporation and certificate of good standing, certified by the Secretary of State
of the State of Hawaii as of a date no earlier than five (5) Business Days prior to
the Closing Date and an officer’s certificate dated the Closing Date stating that such
articles of incorporation are in full force and effect and have not been amended:

T3SR00207
Case 1:21-cv-02092-PAE Document 6-2. Filed 03/11/21 Page 6 of 80

(iv) all governmental and regulatory approvals necessary in connection
with the transactions contemplated by the Operative Documents shall have been
obtained and be in full force and effect.

(v) no Default or Event of Default shall have occurred and be
continuing, and the Sublessor shall have received a certificate from the Sublessee,
in form and substance satisfactory to it, to such effect;

(vi) there shall not have occurred any change in law or regulation that
could have a material adverse impact (in the Sublessor’s reasonable judgment) on
the transactions contemplated by the Operative Documents; and all documents and
all legal matters and all proceedings to be taken in connection with the transactions
contemplated by the Operative Documents shall be reasonably satisfactory in all

respects to the Sublessor;

(vii) there shall have been paid to the Sublessor and the other parties
entitled thereto all Transaction Expenses due and payable to the Sublessor
hereunder;

(viii) a UCC financing statement in form and substance satisfactory to the
Sublessor shall have been filed against the Collateral in the appropriate filing office,
as determined by the Sublessor;

(ix) all applicable conditions precedent under the Lease shall have been
met or waived in accordance therewith; and

(x) the Sublessor shall have received such other documents and
certificates as the Sublessor may reasonably request in writing.

(b) Conditions to the Sublessee’s Obligations to Closing and on each Delivery

Date. The obligations of the Sublessee to enter into this Agreement and perform its obligations
hereunder are subject to the satisfaction of the following conditions:

(i) the Sublessee shall have received a copy of this Agreement, duly
executed by the Sublessor;

(ii) the Sublessee shall have received copies of the FAA Aircraft
Registration Application with respect to the Aircraft being delivered on such
Delivery Date and (in the case of the first Delivery Date) of an affidavit of
citizenship from the Lessor duly completed and executed in proper form for
registration with the FAA: and

(iii) all governmental and regulatory approvals necessary in connection
with the transactions contemplated by the Operative Documents shall have been
obtained and be in full force and effect.

{c) Conditions to the Sublessor’s Obligations on cach Delivery Date. In
addition to the conditions set forth in paragraph (a) above, the obligations of the Sublessor to lease

TASS9D207
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 7 of 80

the Aircraft to the Sublessee pursuant to this Agreement on each Delivery Date are subject to
salisfaction of the following conditions:

(i) The Sublessor shall have received an Agreement Supplement and
the other Operative Documents not theretofore executed and/or delivered in respect
of such Delivery Date, cach duly executed and delivered by the Sublessce,
appropriately completed and all in form and substance reasonably satisfactory to
the Sublessor;

(ii) there shall have been paid to the Sublessor all Transaction Expenses
due and payable to the Sublessor hercunder other than those paid on the Closing
Date and on any previous Delivery Date;

(iii) all sales and use taxes, if any, that are due in respect of the Lessor’s
purchase of the Aircraft being delivered on such Delivery Date shall have been paid
by the Sublessee;

(iv) the Sublessor shall have received copics of insurance policies
covering the Aircraft with all necessary binders and certificates from the various
insurance underwriters as required hereunder, which insurance shall comply with
the requirements of this Agreement;

(v) the Sublessor shall have received the security deposit required to be
paid pursuant to Section 12 on such Delivery Date;

(vi) the Aircrafi being subleased on such Delivery Date shall be free and
clear ofall Liens other than the precautionary Lien in favor of the Sublessor created
hereunder and any other Permitted Licns;

(vii) there shall have been filed with the FAA, in proper form for
acceptance or recordation, as applicable (in the case of the first Delivery Date) this
Agreement and (in the case of the current Delivery Date) the Agreement
Supplement with respect to the Aircraft being delivered on such Delivery Date,
each of the foregoing having been duly executed and delivered;

(viii) the Sublessor shall have received evidence that (A) nameplates have
been affixed to the Aircraft and each Engine being delivered on such Delivery Date
in accordance with this Agreement and (B) a copy of this Agreement, including the
Agreement Supplement and all Exhibits and Schedules thereto, have been properly
placed within the Aircraft being delivered on such Delivery Date; ,

(ix) as required by Section 91.23(c)(3) of the FARs, the Sublessee shall
have notified the Flight Standard District Office of the FAA having primary
jurisdiction over the home base of the Aircraft of the necessary information
contained in the aforesaid regulation:

738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 8 of 80

(x) copies of (A) the executed FAA Bill of Sale and (B) FAA Aircraft
Registration Application (with affidavit of citizenship by the Sublessec) shal] have
been properly placed within the Aircraft being delivered on such Delivery Date;

(xi) all applicable conditions precedent under the Lease shall have been
met or waived in accordance therewith;

(xii) the Sublessor shall have received copies, certified as true and correct
on behalf of the Sublessce, of all licenses, certificates and permits (if any) required
for the operation of the Aircraft being delivered on such Delivery Date;

(xiii) (in the case of the first Delivery Date) confirmation that the
Sublessee has appointed an Administrative User for the purposes of the Cape Town
Agreements, and receipt by the Sublessor of confirmation thereof and the name and
contact details of such Administrative User, and has granted Professional User
consents to FAA Counsel, on the International Registry for purposes of completing
registrations as contemplated hereunder;

(xiv) | the Sublessor shall have received opinions of FAA Counsel and (in
the case of the first Delivery Date) of Sublessee, cach in form, scope and substance
satisfactory to it;

(xv) no Event of Loss with respect to any Aircraft or Engine shall have
occurred and be continuing;

(xvi) no Default or Event of Default shall have occurred and be
continuing, no party shall be in default of its obligations hereunder, and all
representations and warranties of the Sublessee contained herein shall be true and
correct in all material respects on and as of such Delivery Date as if made on such.
date, except for representations and warranties made on an earlier date, in which
case such representations and warranties shall have been true and correct in all
material respects as of such earlicr date, and the Sublessor shall have received a
certificate from the Sublessee, in form and substance reasonably satisfactory to it,
to-such effect; and

(xvii) the Sublessor shall have received such other documents and
certificates as the Sublessor may reasonably request in writing.

The execution and delivery of any Agreement Supplement by the Sublessee, without further act,
shall constitute the irrevocable acceptance by the Sublessee of the Aircraft referred to therein for
all purposes of this Agrecment and the other Operative Documents on and subject to the terms set
forth herein and therein and Sublessee’s agreement to lease the Aircraft during the Basic Term
subject to the terms of this Agreement and the other Operative Documents.

SECTION 3. No Partnership, etc. Nothing set forth herein shall constitute, or be
construed as creating, an employment relationship, a partnership, a joint venture or any other kind
of relationship or association between the parties or between the Sublessor and the Sublessee or
the Sublessee or the Sublessor and any other Person. Except as expressly provided herein or in

4

738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 9 of 80

any other Operative Document between the parties, the Sublessce shall have no authority, express
or implied, to bind, or to incur liabilities or enter into contractual obligations on behalf of or in the

name of, the Sublessor.
SECTION 4. Base Term.

The Base Term for the Aircraft shall begin on the Delivery Date (the “Base Term
Commencement Date”) and end on the Base Term Expiry Date unless this Agreement is otherwise
terminated in accordance with the terms hereof.

SECTION 5. Required Payments.

(a) Basic Payments. The Sublessee will pay to the Sublessor a payment with
respect to each Aircraft, on the First Basic Payment Date if applicable and on each applicable Basic
Payment Date thereafter, to and including the Base Term Expiry Date, in an amount equal to the
Basic Payment for such Aircraft.

(b) Supplemental Payments. In addition to the Basic Payments, the Sublessee

will pay to the Sublessor the following amounts (collectively, the “Supplemental Payments;” the
Basic Payments, together with the Supplemental Payments being collectively referred to as the

“Required Payments”):

(i) as and when expressed to be due hereunder, all amounts (including
without limitation, all fees, expenses and indemnities) payable to the Sublessor or
any Indemnitee hereunder (other than Basic Payments and amounts specified in
clause (1) above and clauses (ii) and (iii) below) that the Sublessee assumes the
obligation to pay, or agrees to pay, under this Agreement to the Sublessor;

(ii) | as and when expressed to be due hereunder all amounts in respect of
Termination Value; and

(iii) within five (5) Business Days following receipt of written demand
therefor, to the extent permitted by Applicable Law, interest (computed on the basis
of a 360-day year of actual days clapsed) at the applicable Late Payment Rate on
any payment of (x) Basic Payments and (y) Termination Value or any other
Supplemental Payment payable to the Sublessor, in each case, to the extent such
amounts are not paid when due from and including the due date thereof (without
regard to any applicable grace period) to but excluding the date of payment.

The expiration or any other termination of the Sublicssee’s obligation to pay Basic Payments
hereunder will not limit or modify the Sublessce’s obligation with respect to Supplemental
Payments, to the extent such amounts are or become due and payable.

(c) Method of Payment. All payments of Required Payments payable to the
Sublessor and any other payments required to be made by the Sublessee to the Sublessor hereunder
will be made to the Sublessor by the wire transfer of immediately available funds in Dollars on or
before the due date for payment hereof at such account at a bank in the United States of America
as the Sublessor designated on the Agreement Supplement or as the Sublessor may designate in a

5
738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 10 of 80

written notice to the Sublessec received by the Sublessee at least three (3) Business Days prior to
the applicable due date, and Supplemental Payments due to any Indemnitee shall be paid directly
to such Indemnitee, by wire transfer of immediately available funds in the same currency required
by the underlying obligation giving rise to the indemnification payment.

SECTION 6. Warranties. Etc. (a) Assignment of Warranties. Effective as of each
respective Delivery Date, the Sublessor hereby makes available to the Sublessce from and after
such Delivery Date all of the warrantics of any Manufacturer with respect to the Aircraft made
available to the Sublessor and permitted by the Manufacturer to be made available to the Sublessor
hereunder. The Sublessce (i) acknowledges and agrees to all terms of the warranties of the
Manufacturer and (ii) agrees to undertake and perform all obligations under such warranties. Upon
the occurrence and continuation of an Event of Default, the powers granted in this Section 6 shall
terminate automatically and without further act of any Person until Sublessee has satisfied in full

all its obligations hereunder to Sublessor.

(b) Power of Attorney. The Sublessec shall be, and hereby is, authorized to
assert and enforce, at the Sublessee’s sole cost and expense, from time to time, in the name of and
for the account of the Sublessor and/or the Sublessee, as their interests may appear, whatever
claims and rights the Sublessee and/or the Sublessor may have against the Manufacturer and any
vendor(s), manufacturer(s), supplicr(s), distributor(s) and/or any third party providing uplift,
service, repairs or otherwise for the Aircraft or any Part, including, without limitation, on account
of express or implied warranties, guaranties or indemnification obligations of any such
manufacturer(s), supplier(s) and/or distributor(s). The foregoing authorization of the Sublessee
shall, to the full extent necessary under Applicable Law, be deemed to constitute a power of
attorney granted by the Sublessor to the Sublessee and coupled with an interest. The exercise of
the authority set forth under this Section 6 shall, however, be subject to the condition that there
shall be no Default or Event of Default continuing under this Agreement.

The Sublessor shall promptly cooperate with the reasonable requests of the Sublessee with respect
1o any such action controlled by the Sublessee, and the Sublessce shall consult with the Sublessor
regarding the conduct of such action, including keeping the Sublessor reasonably informed of the
progress of such action, allowing the Sublessor to receive and comment on written submissions
and considering in good faith the Sublessor’s suggestions regarding such action; provided, that the
Sublessor, or its designee, shal] have the right to cmploy its own counsel (the reasonable and
documented fees and expenses of such counsel shall be at the expense of the Sublessce) and be
entitled to participate in any such action. Subject to satisfaction of the foregoing conditions,
including payment by any Operating Party of any indemnity payments under this Agreement and
any other Opcrating Document to the Sublessor or any other Indemnitee, the damages or other
proceeds of any such action shall be payable to the Sublessce or its designee. Additionally, in the
event any such claims, rights and/or warranties can only be pursued by the Sublessor, the
Sublessor, at the request and direction of Sublessec and at Sublessee’s reasonable expense, shall
pursue the same and the Sublessor shall promptly consult with Sublessce with respect to any such
action controled by the Sublessor.

SECTION 7. Subject and Subordinate. This Sublease shall be subject and subordinate to
all the terms of the Lease and, so long as the same shall not have been discharged, to the lien of
the Security Agreement, including, without limitation, Lessor’s rights to repossession pursuant to

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73SRONI07
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 11 of 80

Section 25 of the Lease and to avoid this Sublease upon such repossession. The Sublessee shall
not take any action not permitted to be taken by the Lessee under the Lease with respect to the

Aircraft.

SECTION 8. Representations and Warrantics of the Sublessee. The Sublessee represents,
warrants and covenants to the Sublessor that:

(a) Existence and Power. The Sublessec (x) is duly organized and validly
existing in good standing under the laws of the state of Utah, (y) has full right, power and authority
to enter into and perform its obligations as the Sublessee pursuant to this Agreement and the other
Operative Documents and (z) has the power and authority to carry on its business as now conducted
and to own and hold under lease its properties.

 

(b) - Trust and Governmental Authorization; No Contravention. The execution,
delivery and performance by Sublessee of this Agreement and the other Operative Documents to
which it is a party are within its powers, have been duly authorized by all actions required to
authorize the execution and delivery hereof and performance hereunder (other than the registration
of the Aircraft in the name of the Sublessee with the FAA and the filing of this Agreement and the
Agreement Supplement with the FAA, which will have been completed as of the applicable
Delivery Date set forth in the applicable Agreement Supplement and except as contemplated by
this Agreement and the other Operative Documents) and such execution, delivery and performance
will not conflict with or violate any provisions of its articles of organization, or of any agreement,
judgment, injunction, order, decree or other instrument binding upon the Sublessee.

(c) Enforceability. This Agreement and the other Operative Documents to
which the Sublessee is a party constitute valid obligations of the Sublessee, binding and
enforceable against it in accordance with their respective terms.

(d) Perfection. As of the applicable Delivery Date of the Aircraft, the Lender
will have a first and prior perfected security interest in the Aircraft, free and clear of all Liens
(senior, pari passu or junior) other than the security interest in the Aircraft and Engines created
hereunder and other than Permitted Liens. Sublessce and Sublessor shall cooperate to promptly
make any filings, recordings and registrations with any Governmental Authority necessary in order
to protect the interests of the Sublessor as lessor under this Agreement, and the interests of the
Lessor under the Lease and of the Lender under the Security Agreement, and the registration of
such interests on the International Registry, with the right to discharge, as contemplated under the
Cape Town Agreements, such interests in favor of the Lender.

(c) Litigation. There are no proceedings pending, or to the actual knowledge
of the Sublessec threatened, against the Sublessee in any court or before any Governmental
Authority or arbitration board or tribunal that, if adversely determined, would materially and
adversely affect the financial condition of the Sublessee or the right, power and authority of the
Sublessce to enter into, or its ability to perform its obligations under this Agreement or the other
Operative Documents.

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 12 of 80

(f) Licenses and Permits. The Sublessce and any Part 135 Operator hold all
licenses, certificates and permits from governmental authorities necessary to use and operate the
Aircraft in accordance with the provisions of this Agreement and the other Operative Documents.

(g) No Defaults, Etc. No Default or Event of Default has occurred and is

 

continuing,

(h) Title. On the applicable Delivery Date, the Lessor has received record title
to the Aircraft, subject to Permitted Liens.

 

(i) Anti-Terrorism Laws.

{i) The Sublessce is not in violation of any Anti-Terrorism Law and has
not, and does not, engage in or conspire to engage in any transaction that evades or
avoids, or has the purpose of evading or avoiding, or attempts to violate, any of the
prohibitions set forth in any Anti-Terrorism Law;

(ii) | Neither.the Sublessee nor any of its respective agents acting or
benefitting in any capacity in connection with the lease or other transactions
hereunder, is any of the following (each a “Blocked Person”): (A) a Person that is
listed in the annex to, or is otherwise subject to the provisions of, Executive Order
No. 13224, (B) a Person owned or controlled by, or acting for or on behalf of, any
Person that is listed in the annex to, or is otherwise subject to the provisions of,
Executive Order No. 13224, (C) a Person or entity with which any bank is
prohibited from dealing or otherwise engaging in any transaction by any Anti-
Terrorism Law, (D) a Person or entity that commits, threatens, or conspires to
commit or supports “terrorism” as defined in Executive Order No. 13224, (E) a
Person or entity that is named as a “specially designated national” on the most
current list published by the U.S. Treasury Department Office of Foreign Asset
Control at its official website or any replacement website or other replacement
official publication of such list, or (F) a Person or entity who is affiliated or
associated with a Person or entity listed above; and

(iii) To the actual knowledge of the Sublessce, neither the Sublessee nor
any of its respective agents acting in any capacity in connection with the lease or
other transactions hereunder (A) conducts any business or engages in making or
receiving any contribution of funds, goods, or services to or for the benefit of any
Blocked Person or (B) deals in, or otherwise engages in any transaction relating to,
any property or interests in property blocked pursuant to Executive Order No.
13224.

(i) Material Adverse Effect. Other than where such non-compliance,
individually or in the aggregate, could not reasonably be expected to result in a material adverse
effect, the Sublessee is in compliance with (A) all Jaws, rules, regulations, and orders of any
Governmental Authority applicable to it or its property and (B) all indentures, agreements, and
other instruments binding upon it or its property.

738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 13 of 80

THE SUBLESSEE EXPRESSLY AGREES, AS BETWEEN IT AND THE LESSOR,
TO ACCEPT THE AIRCRAFT ON AN “AS IS, WHERE IS” AND “WITH ALL FAULTS”
BASIS. THE LESSOR HAS NOT MADE, AND WILL NOT BE DEEMED TO HAVE
MADE, ANY REPRESENTATION OR WARRANTY, EITHER EXPRESS OR IMPLIED,
AS TO ANY MATTER WHATSOEVER, INCLUDING WITHOUT LIMITATION TITLE
TO, OR THE SUBLESSOR’S OR THE SUBLESSEE’S INTEREST IN, THE AIRCRAFT,
THE DESIGN OR CONDITION OF THE AIRCRAFT, THEIR MERCHANTABILITY OR
FITNESS FOR ANY PARTICULAR PURPOSE OR USE, THE QUALITY OF THE
MATERIAL OR WORKMANSHIP OF THE AIRCRAFT, THE VALUE OR
AIRWORTHINESS OR THE CONFORMITY OF THE AIRCRAFT TO THE
PROVISIONS AND SPECIFICATIONS THEREFOR, ANY PATENT INFRINGEMENT
BY, OR LATENT DEFECTS IN, THE AIRCRAFT, NOR WILL THE LESSOR BE
LIABLE, REGARDLESS OF ANY CAUSE, INCLUDING, WITHOUT LIMITATION,
ACTUAL OR ALLEGED NEGLIGENCE OF THE LESSOR FOR LOSS OF
ANTICIPATORY PROFITS OR FOR STRICT OR ABSOLUTE LIABILITY IN TORT.

THE SUBLESSEE ACKNOWLEDGES THAT FHE LESSOR IS NOT A
MANUFACTURER OR VENDOR OF THE AIRCRAFT OR EITHER ENGINE OR ANY
PART. THE SUBLESSEE CONFIRMS THAT IT HAS SELECTED THE AIRCRAFT,
THE ENGINES AND EACH PART THEREOF, AND THE MANUFACTURER, EACH
SELLER AND VENDOR OF THE AIRCRAFT, ON THE BASIS OF ITS OWN

JUDGMENT.

SECTION 9. Covenants. Affirmative Covenants. The Sublessce covenants and agrees
with the Sublessor that so long as this Agreement shall remain in effect or any Required Payments
remain payable to the Sublessor, or any fees or any other amounts payable to the Sublessor
hereunder shall be unpaid, unless the Sublessor shall otherwise consent in writing, the Sublessee

will:

(a) Existence. Do or cause to be done all things necessary to preserve and keep
in full force and effect its legal existence, rights and franchises, material to the conduct of its

business.

(b) Compliance With Law. Comply in all material respects with all Applicable
Law, ordinances, rules, regulations and requirements of any Governmental Authority, except
where the necessity of compliance therewith is contested in good faith by appropriate proceedings.

(c) Use of Aircraft. Require operation of the Aircraft in compliance with all
laws, rules and regulations of every Governmental Authority having jurisdiction over the Aircraft
and ina manner that will allow the Aircraft to qualify for Manufacturer maintenance.

(d) Insurance. Ensure that the Aircraft will, in all events be, flown, hangared
and operated:

(1) consistently with all insurance required under Section 20 and
Schedule |] hereof such that the Aircraft shall remain subject to registration with the
FAA, and

9

T3S5K90297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 14 of 80

ai) in compliance with all Jaws, rules and regulations of every
Governmental Authority having jurisdiction over the Aircraft.

(e) Costs. Pay or cause to be paid all costs, expenses, fees and charges incurred
in connection with the use and operation of the Aircraft.

(f) Litigation and Other Notices. Give the Sublessor prompt written notice, but
in no event later than three (3) Business Days of obtaining actual knowledge, of the following:

(i) the institution of any litigation or proceeding involving the
Sublessee that could reasonably be expected to materially and adversely affect the
operations, financial condition, property or business prospects of the Sublessec; and

(ti) the occurrence of any Default or Event of Default, specifying the
nature and extent thereof and the action (if any) which is proposed to be taken with
respect thereto.

(zg) Notice of Change of Jurisdiction of Formation; Address: Change of Name.

Provide the Sublessor prompt written notice, but in no event later than three (3) Business Days of
obtaining actual knowledge, following any anticipated change in its address or jurisdiction of
formation and shall promptly notify the FAA of any change of its name.

(h) FAA Registration. Cause the Aircraft to remain duly registered with the
FAA in the name of the Lessor and comply with the re-registration and renewal requirements of
14 CFR §47 (as amended by the Final Rule, Re-Registration and Renewal of Aircraft Registration,
Federal Register / Vol. 75, No. 138 / Tuesday, July 20, 2010). The Sublessce will cause the
registration of the Aircraft to be renewed at least three (3) months prior to expiration and provide
the Sublessor evidence of the same. The Sublessor shall coopcrate with the Sublessee in the

implementation of this paragraph.

(i) Airworthiness. Maintain, in good standing, a current and valid Certificate
of Airworthiness (in the appropriate category for the nature of the operations of the Aircraft) for
the Aircraft, issued by the Governmental Authority, except during any period when the Aircraft is
undergoing maintenance, modification or repair required or permitted by this Agreement, and will
from time to time provide to the Sublessor a copy thereof on request.

(j) Maintenance. Except as otherwise provided for in the Operative
Documents, at its expense, take all actions necessary to maintain and repair the Aircraft to keep it
in as good operating condition as of the applicable Delivery Date, ordinary wear and tear resulting
from proper use excepted, and, unless otherwise expressly provided for in this Agreement, shall
enter into and keep in force a maintenance agreement or program with the manufacturer or other
maintenance provider reasonably acceptable to the Sublessor to provide such maintenance and
repair. Except as otherwise provided for in the Operative Documents, the Sublessee shall, at its
expense, promptly replace all parts of any item of the Aircraft that become worn out, lost, stolen,
destroyed, or unfit for use with replacement parts free of any encumbrance (and title thereto shall
vest in the Sublessor immediately upon installation), subject to the requirements of Section 15.

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 15 of 80

(k) Ownership and Identification. Subject to Section 30, cause the Aircraft at
all times to remain the sole and exclusive property of the Lessor or its agents. The Sublessec shall
have no right, title or interest in the Aircraft except as sct forth in the Operative Documents. The
Sublessee shall give the Sublessor immediate notice of any attempt by any third party to gain
control of the Aircraft (including, without limitation, any attachment or levy against the Aircraft)
of which the Sublessce has actual knowledge. The Sublessee acknowledges that, the Lessor may
grant Permitted Liens in the Aircraft and the Lessor's interest therein in order to secure the Lessor’s

obligations under the Loan Agrcement. Further, Sublessee and Sublessor shall establish, maintain,
preserve, perfect and protect the Lessor’s title to, and its, the Sublessor’s and the Lender's interests
in, the Aircraft and the rights of the Lessor, the Sublessor and the Lender in the Aircraft and under
the Operative Documents and, in particular (but without limitation), the Sublessee shall forthwith
do all such acts as may be necessary to perfect recognition of the Lessor’s ttle to, and the interests
of the Lessor, the Sublessor and the Lender in, the Aircraft in accordance with the Cape Town

Agreements.

. SECTION 10. Negative Covenants. The Sublessee covenants and agrees with the

Sublessor that so long as this Agreement shall remain in effect or any Required Payments remain
payable to the Sublessor, or any fees or any other amounts payabic to the Sublessor hereunder shall
be unpaid, unless the Sublessor shall otherwise consent in writing, the Sublessee will not:

(a) sublease, hire out, or otherwise transfer or part with the possession, control
or custody of the Aircraft, other than as expressly provided for in the Operative Documents. This
Agreement and any other permitted sublease of the Aircraft shall be expressly subject and
subordinate to this Agreement, the Lease and the Security Agreement.

(b) make any assignment of this Agreement or its interest hereunder, subject to
Section 27;

(c) create incur, assume or suffer to exist any liens, other than Permitted Liens,
on or with respect to the Aircraft, the Lessor’s title thereto or any interest therein (and the Sublessee
will promptly, at its own expense, take such action as may be necessary duly to discharge any such
lien), except (i) the respective rights of the Lessor and the Sublessor as provided in the Lease, (1i)
the respective rights of the Sublessor and the Sublessee as herein provided, (iii) inchoate material
men’s, mechanic's or other like liens arising in the ordinary course of business of the Sublessee
and not delinquent, and (iv) liens granted by the Lessor to any assignee;

(dd) permit the Aircraft to be utilized in any manner not originally intended
without the prior written consent of the Sublessor, such consent not to be unreasonably withheld,

conditioned or delayed; or

(e) use any of the financial accommodations made available to it hereunder in
violation of any Applicable Law. In connection with the foregoing, the Sublessce will not use any
of such financial accommodations: (a) to fund any operations of, 10 finance any investments or
activities in, or to make any payments to, any Person named on the list of specially designated
nationals or Blocked Persons maintained by the United States Department of the Treasury's Office
of Foreign Assets Control: or (b) to fund any operations in, to finance any investments or activities
in. or to make any payments to, an agency of the government of a country, an organization

8}

PRENGIOT
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 16 of 80

controlled by a country, or a Person resident in a country that is subject to a sanctions program
administered by the United States Department of the Treasury's Office of Foreign Assets Control
under 31 C.F.R. Chapter V.

SECTION 11. The Sublessee’s Payment Obligations. This Agreement is a net lease, and
the Sublessee acknowledges and agrees that Sublessee’s obligation to pay all Required Payments

payable to the Sublessor hereunder (or any indemnification payments payable to the Indemnitees),
and the rights of the Sublessor in and to such Required Payments and other sums in each case
payable to the Sublessor, will be ABSOLUTE AND UNCONDITIONAL UNDER ALL
CIRCUMSTANCES and will not be subject to any abatement, reduction, set-off, defensc,
counterclaim or recoupment of any kind or description (““Abatements”) for any reason whatsocver,
including without limitation, Abatements due to any present or future claims of the Sublessec
against the Sublessor under this Agreement or otherwise against the Manufacturer, any
Indemnitce, any supplier of any Part or against any other Person for whatever reason, or by reason
of any defect in or damage to, or any loss or destruction of the Aircraft, or the prohibition of or
interference with the use thereof, or the bankruptcy or insolvency of the Sublessor or any other
Person, it being the express intention of the Sublessor and the Sublessee that all Required Payments
payable by the Sublessce thereunder shall be and continue to be promptly and unconditionally
payable in all events. This Agreement will not terminate for any cause, nor will the obligations of
Sublessee be affected by, any invalidity of title or any defect in the title, condition, design,
merchantability, airworthiness or fitness for use of, or operation of the Aircraft, or as a result of
damage to, or any loss, or destruction of, the Aircraft or any Part thereof from whatsoever cause,
the ineligibility of the Aircraft for registration or documentation under the laws of any relevant
jurisdiction, or the interference with the use thereof by the Sublessor or any other Person, the
invalidity or unenforceability of this Agreement or any other Operative Document, the
impossibility or illegality of performance by the Sublessce, the Sublessor or any other Person, the
insolvency, bankruptcy or reorganization of any Person, the unavailability of the Aircraft for any
reason or for any other cause, whether similar or dissimilar to the foregoing, any present or future
law or regulation to the contrary, notwithstanding the Sublessee hereby waives, to the cxtent
permitted by Applicable Law, any and all rights which it may now or hereafter have, by statute or
otherwise, to terminate, cancel, quit or surrender the lease of, or its agreement to use, the Aircraft,
it being the express intention of the Sublessor and the Sublessee that all Required Payments
payable by the Sublessee hereunder to the Sublessor and any indemnification payments to the
Indemnitees and other sums payable to the Sublessor hereunder will be, and continue to be, payable
in all events unless the obligation to pay the same is terminated pursuant to the express provisions
of this Agreement.

SECTION 12. Security Deposits. The Sublessee shall, on or before cach Delivery Date,
pay a security deposit to the Sublessor as security for the obligations of the Sublessce under the
Operative Documents in an amount equal to (wo (2) Basic Payments in respect of the Aircraft to
be delivered on such Delivery Date. Such security deposits shall be the Sublessor's absolute
‘property, shall not bear interest and may be commingled. by the Sublessor with its own general or
other funds. The Sublessor may, but shall not be obliged to, apply such security deposits in whole
or in part for the payment of any amounts owing but unpaid from time to time by the Sublessee
under any Operative Documents, or may utilize such security deposits in whole or in part to
perform any of the Sublessce's unperformed obligations under any Operative Document or

12

T3RR90297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 17 of 80

otherwise remedy any Event of Default (including, without limitation, in respect of the redelivery
condition of the Aircraft), without prejudice to any other remedy of the Sublcessor.

In the event that this Agreement terminates for any reason, conditional upon the
prior payment in full by the Sublessec of all sums due by it under the Operative Documents, the
Sublessor shall repay the unapplied balance of such security deposits to the Sublessec within
fifteen (15) days of the date of such full payment. Notwithstanding the foregoing, the Sublessee
expressly acknowledges and agrees that the Sublessor shall be entitled to set off the available
balance of such security deposits against any obligations of the Sublessee hereunder in the event
ofan carly termination of this Agreement.

SECTION 13. Identification Plates. The Sublessee shall procure that the cockpit of cach
Aircraft and cach Engine shall be equipped at all times during the Base Term with a fireproof plate
of a size no less than [0 cm x 7 cm, permanently affixed in a prominent position, setting forth, in
the following terms and in clearly legible characters, that “THIS (AIRCRAFT WITH
MANUFACTURER'S SERIAL NUMBER] / [ENGINE WITH MANUFACTURER'S SERIAL
NUMBER] IS OWNED BY BANK OF UTAH, AS OWNER TRUSTEE, AND IS SUBJECT TO
A FIRST PRIORITY SECURITY INTEREST IN FAVOR OF APPLE BANK FOR SAVINGS"
or such other text as may subsequently be required by the Sublessor specifying in summary form
the ownership of and security interests over the Aircraft pursuant to the Operative Documents.

SECTION 14. Modification/Improvements. Except where the failure to do so would not
have a material adverse effect on the fair market value, utility, residual value or remaining useful
life of the Aircraft and would not materially adversely affect its condition or airworthiness, the
Sublessee or its designee, at the Sublessce’s own cost and expense, will promptly replace all Parts
in accordance with the terms hereof which may from time to time become worn out, lost, stolen,
destroyed, seized, confiscated, damaged beyond repair or permanently rendered unfit for use for
any reason whatsoever. In addition, in the ordinary course of maintenance, service, repair,
overhaul or testing, the Sublessee, or its designee, may remove any Parts, whether or not worn out,
lost, stolen, destroyed, scized, confiscated, damaged beyond repair or permanently rendered unfit
for use; provided, that the Sublessce shall cause such Paris to be replaced as promptly as
practicable in accordance with the terms hereof. All replacement parts (such replacement or
substituted parts referred to as “Replacement Parts”) shall be free and clear of all Liens other than
Permitted Liens and shall be in as good operating condition as, and shall have a fair market value,
utility, modification status, residual value and remaining useful life at least equal to the Parts
replaced, assuming such replaced Parts were in the condition and repair required to be maintained
by the terms hereof. All hard time component life parts will be replaced with new or newly
overhauled Parts with full life interval, when removed and replaced due to life expiration.

Subject to the second succeeding paragraph, all Parts subleased by the Sublessor under this
Agreement at any time removed from the Aircraft shall remain the property of the Lessor and
subject to this Agreement, no matter where located, until such time as such Parts shall be replaced
by Replacement Parts which have been incorporated or installed in or attached to the Aircraft and
which mect the requirements for replacement parts specified above. Immediately upon any
Replacement Part becoming incorporated or installed in or attached to the Aircraft as above;
provided, that without further act by the Sublessor, (A) title to the replaced Part shall thereupon
vest in Sublessee, free and clear of all rights of the Sublessor and the Lessor and shall no longer

13

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 18 of 80

be deemed a Part; (B) title to such Replacement Part shall thereupon vest in the Lessor: and (C)
such Replacement Part shall become subject to this Agreement and be deemed part of such item
to the same extent as the Parts originally incorporated or installed in or attached to the Aircraft.

The Sublessee, at its own expense, shall make alterations and modifications in and
additions to the Aircraft as may be required from time to time under any Applicable Law or as
required by any Governmental Authority. In addition, the Sublessee, at its own expense, may from
time to time make such alterations and modifications in and additions to the Aircraft (collectively
“Alterations”) as the Sublessee may deem necessary in the proper conduct of its business:
provided, that no such Alteration diminishes the fair market value, residual value, utility or
remaining useful life of the Aircraft below the fair market valuc, utility, remaining useful life, or
residual value of the Aircraft immediately prior to such Alteration in any material respect (as
determined by the Sublessor in its reasonable discretion), assuming the Aircraft was then in the
condition required to be maintained by the terms of this Agreement, or diminishes the
airworthiness of the Aircraft; provided, further that the Sublessce shall not convert the Aircraft to
an all-cargo or primarily cargo configuration without the prior written consent of the Sublessor.

Title to all Parts incorporated or installed in or attached or added to the Aircrafi as the result
of any Alteration made as contemplated in the preceding paragraph shall automatically vest in the
Lessor; provided, however, that so long as no Event of Default shall have occurred and be
continuing, at any time during the Base Term, the Sublessee, or its designee, may remove any Part,
provided, further that (A) such Part is in addition to, and not in replacement of or in substitution
for, any Part originally incorporated or installed in or attached to the Aircraft at the time of delivery
thereof hereunder or any Part in, replacement of, or substitution for, any such original Part; (B)
such Part is not required to be incorporated or installed in or attached or added to the Aircraft
pursuant to the terms of this Agreement; and (C) such Part can be removed from the Aircraft
without diminishing or impairing the fair market value, residual value, utility, or remaining useful
life of the Aircraft in any material respect or the airworthiness of the Aircraft, which the Aircraft
would have had at such time had such Alteration not occurred. Upon the removal by the Sublesscc,
or its designee, of any such Part as summarized above, title thereto shall, without further act, vest
in Sublessee and such Part shall no longer be deemed a Part. Any Part not removed by the
Sublessce, or its designee shall remain the property of the Lessor. .

 

SECTION 15. Registration, Maintenance and Operation.
(a) The Sublessee, at its own expense, will:

(ay cause the Aircraft to be duly registered, at all times from and after
the Delivery Date for the Aircraft, in the name of the Lessor under the Federal
Aviation Act and will not permit the Aircrafi to be registered under the laws of any
country other than the United States of America;

(ii) maintain, inspect, service, repair, overhaul and test (or cause 10 be
maintained, inspected, serviced, overhauled and tested) the Airframe and cach
Engine and all other Parts under the MSP and in accordance with (w) all
maintenance manuals initially furnished with the applicable Aircraft, including any
subsequent amendments or supplements to such manuals issued by the

14

738890207
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 19 of 80

Manufacturer or any other Person from time to time, (x) all recommended service
bulletins and aircraft modification kits, issued, supplied or available by or through
the applicable Manufacturer with respect to the Aircraft, (y) all “airworthiness
alerts” and ADs issued by the FAA or similar regulatory agency or Governmental
Authority having jurisdictional authority, and whenever recommended by any
Manufacturer causing compliance with such directives to be completed through
corrective modification in lieu of operating manual restrictions and (z) to at least
the same standard as any other comparable aircraft in the Sublessee’s fleet;

(iii) maintain or cause to be maintained all records, Logs and. other
materials required by the FAA and any other Governmental Authority to be
maintained in respect of the avionics, cach Airframe and each Enginc or by the
applicable manufacturer thereof for enforcement of any warranties; and

(iv) promptly furnish or cause to be furnished to the Lessor such
information as may be required to enable the Lessor to file any reports required by
any Governmental Authority as a result of the Lessor’s holding record ute to the

Aircraft.

(b) All| maintenance procedures required by Section 15(a)Gi) will be
undertaken and completed in accordance with the relevant Manufacturer's recommended
procedures and the Maintenance Program, and only by properly trained, licensed, and FAA
certified maintenance personnel, so as to keep the Airframes and Engines in as good operating
condition as when delivered pursuant to the Purchase Agreement (ordinary wear and tear
excepted), and so as to keep the Aircraft in such operating condition as may be necessary to enable
the airworthiness certification of the Aircraft to be maintained in good standing at al] times under
the Federal Aviation Act. If any Engine is damaged or is being inspected or overhauled, the
Sublessee, at its option, may substitute another engine of the same make and model as the Engines
being repaired or overhauled; provided, that such engine is approved by the FAA and the
Manufacturer for use thereon (a “Loaner Engine”) during the period of such repair or overhaul;
provided, further, (x) installation of the Loaner Engine is performed by one or more mechanics
who is FAA-certified with respect to an aircraft of the type of the Aircrafi, (y) the Loaner Engine
is removed and the repaired or overhauled Engine is reinstalled on the Airframe promptly upon
completion of the repair or overhaul of the Engine but in no event later than the expiration or
earlier termination of the Base Term of this Agreement, and (z) the Loaner Engine is maintained
in accordance with the requirements of this Section L5.

 

SECTION 16. Compliance and Use. The Sublessee agrees that the Aircraft will be
maintained, used and operated in compliance with any and all statutes, laws, ordinances,
regulations and mandatory standards or directives issued by the FAA and any other Governmenial
Authority applicable to the maintenance, use or operation thereof, including, without limitation,
all FARs, in compliance with any airworthiness certificate, license or registration relating to the
Aircraft issued by any Governmental Authority and-in a manner that does not impair any existing
warrantics on the Aircraft or any part thercof. The Sublessce also represents and warrants that it
will permit the Aircraft to be operated solely in the conduct of the business of the Sublessec and
will not operate or permit the Aircraft to be operated (i) at any time or in any gcographic area that
would invalidate the insurance required by the provisions of Section 20 hercof or in contravention

15
735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 20 of 80

of any insurance policy in any material respect, or (ii) in a manner wherein the predominance of
use during any consecutive twelve (12) month period would be for the purpose other than
passenger transportation, or in a manner, for any time period, such that the Sublessor or a third
party other than the Sublessce, the Sublessor or a Part 135 Operator will be deemed to have
“operational control” of the Aircraft. For the avoidance of doubt, the Sublessee shall be permitted
to conduct the carriage of such Operating Party and/or guests pursuant to 14 CFR Section 91.501
(b) (4), affiliated group operations pursuant to 14 CFR Section 91,501 (b) (5) and/or (6),
demonstration flights pursuant to 14 CFR Section 91.501 (b) (3), time sharing or interchange
operations pursuant to 14 CFR Section 91.501(b) (6), the carriage of customers pursuant to 14
CFR Section 91.501 (b) (9) and/or the carriage of candidates in Federal elections conducted
pursuant to 14 CFR Section 91.321. In addition, the foregoing shall be not be deemed to prohibit
the delivery of possession of the Aircraft, any Engine or Part to another Person for testing, service,
repair, maintenance, overhaul or, to the extent permitted hereby, alteration or modification. No
acceptance, assignment, subletting, relinquishment or installation shall in any event relieve
Sublessee of primary, absolute and unconditional liability for its duties and obligations under this
Agreement. Notwithstanding anything in this Agreement to the contrary, provided that no Event
of Default has occurred and is continuing, the Sublessce may charter and/or sublease the Aircraft
to any person controlling, controlled by, or under common control with the Sublessee, and for this
purpose, “control” means the possession, directly or indirectly, of the power to dircct or cause the
direction of. the management and policies of any such Person, whether through the legal or
beneficial ownership of voting securities, by contract or otherwisc. Throughout the Base Term,
the possession, use and maintenance of the Aircraft will be at the sole risk and expense of the
Sublessee and the relevant Aircraft will be based at the Primary Hangar Location set forth in the
Agreement Supplement. At all times the Aircraft will be operated only by duly qualified, currently
certified pilot(s) having at least the minimum total pilot hours required by the requirements of the
insurance carriers providing the insurance pursuant to this Agreement and for such certification by
the FAA and will not be used in violation of law for the transport of narcotics, illegal substances
or other contraband or in contravention of any Applicable Law.

SECTION 17. Aircraft Marking. The Sublessce agrecs, at its own cost and expense, to
(i) cause the Airframe and Engines to be kept numbered with the identification or serial] number
therefor as specified in the Agreement Supplement; (i!) prominently and properly display on the
Aircraft the FAA registration number, and only the FAA registration number, specified in the
Agreement Supplement; (iii) notify the Sublessor in writing promptly after making any material
change in the configuration (other than any change in configuration mandated by the FAA or any
other Governmental Authority), appearance or coloring of the Aircraft from that in effect at the
time the Aircraft is accepted by the Lessor under the Purchase Agreement: (iv) at all times carry a
copy of this Agreement, the Agreement Supplement, the Lease and a current and valid FAA
Aircraft Registration Application or AC Form 8050-3 Certificate of Registration on the applicable
Aircraft; and (v) comply with any related requirements under the Loan Agreement.

SECTION 18. Inspection. The Sublessor, or its designee, will have the right during a
mutually agreed upon ordinary time and reasonable prior notice and without disruption to an
Operating Party's normal business operations and the use or operation of the Aircraft to enter the
premises where the Aircraft is located and inspect the Aircraft and the Sublessce shall cooperate
with the Sublessor or its designee in conducting such activities once during cach calendar year if
no Event of Default has occurred and is continuing and at other reasonable times if an Event of

16

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 21 of 80

Default has occurred and is continuing. Upon the written request of the Sublessor, the Sublessee
will confinn to the Sublessor the location of the applicable Aircraft, and after reasonable prior
notice to the Sublessee and without disruption to an Operating Party's normal business operations
and the use or operation of the Aircraft, the Sublessee will make the Aircraft and Logs and records
pertaining to the Aircraft (or cause the same to be made) available to the Sublessor, or any of its

authorized representatives for inspection.

SECTION 19. Loss or Destruction. (a) Upon the occurrence of an Event of Loss with
respect to any Airframe, the Sublessee will give the Sublessor written notice thereof within ten
(10) Business Days following such occurrence. So long as no Event of Default has occurred and
is continuing, the Sublessec may, at its option, either (i) replace the affected Aircraft with an
aircraft of like make and similar (or better) model, having at least the same utility, fair market
value, residual value and remaining economic useful life as the replaced Aircraft immediately prior
to such Event of Loss, or (ii) upon fificen (15) days’ notice to the Sublessor that the Sublessee
desires to exercise this option (ii), pay or cause to be paid to the Sublessor, on the next succeeding
Basic Payment Date occurring at least ninety (90) days after such Event of Loss, the Termination
Value (the “Termination Payment”) with respect to such Aircraft. Upon making such Termination
Payment, the Sublessee’s obligation to pay further Basic Payments for such Aircraft will cease,
and the Sublessor’s right title and interest in such Aircraft will be transferred to the Sublessce “as
is, where is” and without representation or warranty, except for the absence of Sublessor Liens. In
the case of an Event of Loss, the Sublessec will be entitled to recover possession of the Aircraft,
unless possession thereof is required to be delivered to an independent insurance carrier in order
to settle an insurance claim arising out of such Event of Loss. The Sublessor will be under no duty
to the Sublessee to (but shall, at the Sublessee’s reasonable expense, if requested by the Sublessee)
pursue any claim against any Governmental Authority, but the Sublessee may at its own cost and
expense pursue the same in such manner as may be satisfactory to the Sublessec, and the Sublessor
will cooperate, at the Sublessee’s expense, with the Sublessee in connection therewith. With
respect to a Requisition of Use of any Airframe or Engine then installed thereon, the Sublessor
agrees that the Sublessee may receive and retain all amounts paid by any Governmental Authority
or any third party in connection with such Event of Loss.

(b) Upon the occurrence of an Event of Loss with respect to any Engine or Part
under circumstances in which there has not occurred an Event of Loss with respect to the Airframe
upon which such Engine or Part was currently or previously installed, the Sublessee will give the
Sublessor written notice thercof within ten (10) Business Days following such occurrence and will,
within sixty (60) days after the occurrence of such Event of Loss, duly convey to the Lessor, in
replacement of the Engine or Part with respect to which such Event of Loss occurred a similar
engine or part of at least equivalent make, model and modification status as that suffering the Event
of Loss, fully interchangeable as to form, fit and function, free and clear of all Liens (other than
Permitted Liens) and having a useful life and utility at least equal to, and being in as good operating
condition as, the Engine or Part with respect to which such Event of Loss occurred, assuming such
Engine or Part was of the quality or utility and in the condition and repair required by the terms
hereof immediately prior to the occurrence of such Event of Loss. Prior to or at the time of any
such conveyance, the Sublessee, at its own expense, will furnish the Sublessor with such
documents and filings, including but not limited to any UCC financing statement or any filing with
the FAA, to.evidence such conveyance as the Sublessor will reasonably request in writing. Upon
full compliance by the Sublessee with the terms of this Section 19(b), the Sublessor will transfer

17

73S890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 22 of 80

to Sublessee, without recourse or warranty, all of the Sublessor’s right in and to the Engine or Part
with respect to which such Event of Loss occurred. For all purposes hercof, each such replacement
engine will, after such conveyance, be deemed part of the property subject to the Sublessee’s right
of use hereunder, will be deemed an “Engine” as defined herein and will be deemed part of the
same Aircraft as was the Engine replaced thereby and each Replacement Part will, after such
conveyance, be deemed part of the property subject to the Sublessce’s right of use hereunder, will
be deemed a “Part” as defined herein and will be dcemed part of the applicable Aircraft as the Part
replaced thereby. No Event of Loss with respect to an Engine or any Part under the circumstances
contemplated by the terms of this paragraph will result in any reduction in or delay in payment of
any Required Payment payable to the Sublessor or relieve the Sublessce of any other obligation
(other than with respect to replaced Engine or Parts) under this Agreement. Nothing in this
paragraph (b) shall derogate from the Sublessce’s rights under Section 30(a).

(c) The Sublessee will bear all risk of loss, theft, damage or destruction to the
Aircraft, each Part thereof and to the Engines, however incurred or occasioned, and the Sublessce
will not be released from its obligations (other than with respect to replaced Parts and as otherwise
provided in Section 19(a} should the Sublessee clect to make a Termination Payment) hereunder
in the event of any damage to the Aircraft or any Part thereof or any Event of Loss relating thereto.

(da) Provided no Event of Default shall have occurred and be continuing, if the
Sublessor receives payment under any insurance policy maintained pursuant to Section 20 hereof
in connection with an Event of Loss of an Engine or Part, the Sublessor, from such insurance
proceeds, will promptly remit the same to the Sublessee in accordance with the terms of Section

20(g) hereof.
SECTION 20. Insurance.

(a) The Sublessee’s Obligation to Insure. The Sublessee shall maintain or

cause to be maintained insurance in accordance with Schedule | hereto.

(b) Sublessor may Perform. If the Sublessee shall default in effecting or
maintaining any insurance or if any insurance shal] from any cause become void, the Sublessor
may (but without any obligation to do so) effect and keep up such insurance at the Sublessee’s sole
cost and the Sublessce will forthwith upon demand repay to the Sublessor, as the case may be, all
premiums and other monies from time to time paid by or on behalf of the Sublessor, as the case
may be, in respect of such insurance.

(c) Insurance for Own Account. Nothing in this Section 20 or Schedule I shall
limit or prohibit (x) the Sublessce from maintaining the policies of insurance required under this _
Section 20 with higher limits than those specified in Schedule [ or (y) the Sublessor at its sole cost
and expense from obtaining insurance for its own account (and any proceeds payable under such
separate insurance shall be payable as provided in the policy relating thereto and the Operating
Parties shall have no obligation for any premiums or charges incurred as a result of such policies);
provided, however, that no insurance may be obtained or maintained that would limit or otherwise
adversely affect the coverage of any insurance required to be obtained or maintained by the
Sublessee pursuant to this Section 20.

18

TAS890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 23 of 80

(d) Application of Insurance Proceeds. As between the Sublessee and the

Sublessor, all insurance proceeds received as a result of the occurrence of an Event of Loss with
respect to the Aircraft or cither Engine under policies required to be maintained by the Sublessee
pursuant to this Section 20 will be applicd as provided in Sections 19(d) and _20(g) hereof.
Following compliance with Section 20(g) hereof, any remaining proceeds shall be paid to the
Sublessee. All proceeds of insurance required to be maintained by the Sublessee in accordance
with this Section 20 in respect of any property damage or loss not constituting an Event of Loss
with respect to the Aircraft or any Airframe or Engine will be applied in payment (or to reimburse
the Sublessee) for repairs or for replacement property.

(e) Application of Payments During Existence of Default. Any amount

described in this Section 20 that is payable or creditabic to, or retainable by, the Sublessee shall
not be paid or credited to, or retained by, the Sublessce if at the time such payment, credit or
retention an Event of Default shall have occurred and be continuing, but shall be held by or paid
over to the Sublessor in the manner set forth in Section 5(c) as security for the obligation of the
Sublessee under this Agreement and applied against the Sublessce’s obligations hereunder and if
and when due. If, at such time, there shall not be any Event of Default, then such amounts shall
be paid to the Sublessee to the extent not previously applied in accordance with the preceding
sentence.

(f) Aircraft Not in Operation. During any period that any Airframe or an
Engine while temporarily removed from the Aircraft, pursuant to the terms of this Agreement, and
not replaced by similar components, as the case may be, is on the ground and not in operation and
such grounding is not the result of an Event of Default that has occurred and is continuing, the
Sublessee may, carry or cause to be carried as to such non-operating property, in licu of the
insurance required by this Section 20, insurance otherwise conforming with the provisions of this
Section 20; provided, that the amounts of coverage, the scope of the risks and the type of insurance
shall be the same as from time to time applicable to Aircraft owned or leased by the Sublessec of
the same type as the Aircraft similarly on the ground and not in operation.

(g) Application of Payments. Any amounts, other than insurance proceeds in
respect of damage or loss not constituting an Event of Loss (the application of which is provided
for in Section B of Schedule I of this Agreement) received at any time by the Sublessec or any
other Person in respect of any Event of Loss will be applied as follows:

(i) Replacement of Engines. Ifsuch amounts are received with respect
to any Engine installed thereon at the time of such Event of Loss, and if Sublessee
has elected to replace such Engine, then, upon compliance by the Sublessce with
the applicable terms of this Agreement with respect to the Event of Loss for which
such amounts are received, such amounts shall be paid over to, or retained by, the
Sublessee; provided, that such procceds may be applied by Sublessee to the
acquisition of such replacement Engine in accordance with Sections 14, 15 and 19.

(ii) Loss of Engine. If such amounts are received with respect to an
Engine (other than an Engine installed on an Airframe at the time the Airframe
suffers an Event of Loss), upon compliance by the Sublessee with the applicable
terms of this Agreement and the other Operative Documents with respect to the

19
735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 24 of 80

Event of Loss for which such amounts are received, such amounts shall be paid
over to, or retained by, the Sublessec; provided, that such proceeds may be applied
by Sublessee to the acquisition of a replacement Engine in accordance with

Sections 14, 15 and 19.

(iii) Payment of Loss. If such amounts are received, in whole or in part,
with respect to an Airframe, such amounts shall be applied in accordance with this

Section 20 and Schedule I.

 

SECTION 21. Indemnification.

(a) General Indemnity. The Sublessee hercby assumes liability for, and does

hereby agree to indemnify, protect, save, defend, and hold cach Indemnitee harmless on an A fter-
Tax Basis from and against, any and all obligations, fees, liabilities, losses, damages, penallies,
claims, demands, actions, suits, judgments, costs and expenses, including reasonably incurred and
documented legal fees and expenses, of every kind and nature whatsoever (herein referred to as a
“Liability”), which may be asserted against any Indemnitee, in any way, directly or indirectly
relating to, or arising out of (or alleged to directly or indirectly arise out of or relate to) the Icasing,
maintenance, use or possession of the Aircraft or the Overall Transaction, the Aircraft, or the
execution, delivery, performance of, nonperformance or other condition of any kind with respect
to, any Operative Document, including, without limitation:

735890297

(i) the manufacture, construction, ordering, purchase, acceptance or
rejection, ownership, titling or rctitling, registration or re-registration, delivery,
leasing, subleasing, releasing, possession, use, operation, control, management,
storage, removal, return, repossession, sale or other disposition of the Aircraft, or
any part thereof, including, without limitation, any of such as may arise from
(A) loss or damage to any property or death or injury to any Person, (B) patent or
latent defects in the Aircraft (whether or not discoverable by the Sublessee or any
Indemnitee), (C) any claims based on product liability or strict or absolute liability
in tort, (D) any claims based on patent, trademark, trade-name or copyright
infringement, or (E) any claims based upon any noncompliance with or violation
of any environmental control, noise or pollution laws, rules, regulations or
requirements;

(ii) | any inaccuracy of any representation or warranty of the Sublessce,
or any failure on the part of the Subicssee to perform or comply with any of the
terms of this Agreement or any Operative Document; or

(iti) any power of attorney issued to the Sublessec to title, retitle, register
or reregister an Aircraft, and any charges, civil and criminal violations with respect
1o an Aircraft, and all penalties and interest applicable thereto,

(iv) — any defect in the Aircraft resulting in costs, expenses, damages or
liabilities; or
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 25 of 80

(v) any Default or Event of Default under this Agreement or any other
Operative Document.

provided, that the foregoing indemnity shall not extend to any Liability (A) with respect to any
particular Indemnitee to the extent determined by a court to result from the willful misconduct or
the gross negligence of such Indemnitec; or (B) with respect to any Tax (other than to the extent
included in the After-Tax Basis calculation), it being understood that Liability in respect of any
Tax (other than to the extent included in the After-Tax Basis calculation) is covered, if at all, by
Section 21(b); or (C) imposed with respect to the period after the expiration of the Sublease term
set forth herein as such term may be renewed in accordance with the provisions hereof, provided
that this clause (C) shall not apply with respect to any Liability related to events occurring or
matters arising prior to or simultancously with the expiration of the term of this Agrecment or
relating to payments to or for the benefit of an Indemnitec following the expiration of such term.
The Sublessee shall satisfy, pay and discharge any and all judgments and fines that may be
recovered against the Sublessor in any such action or actions.

(b) General Tax Indemnity. The Sublessce agrees to pay, defend and indemnify
and hold each Indemnitee harmless on an After-Tax Basis from any and all Taxes imposed by any
Federal, state or local government or taxing authority of or in the United States, or by any taxing
authority or governmental subdivision of a foreign country, upon or with respect to (a) any
Indemnitee, Sublessee, the Aircraft, or any part thereof, or upon or with respect to any Operative
Document, the Overall Transaction or the Sublessor, (b) the manufacture, construction, design,
ordering, purchase, ownership, financing, delivery, acceptance, rejection, leasing, subleasing, re-
leasing, possession, use, maintenance, alteration, modification, registration, re-registration, titling,
re-titling, licensing, documentation, repossession, sale, transfer of title, destruction, casualty,
accident or other application or disposition of the Aircraft, or any part thereof, (c) the payments,
rentals, receipts or earnings arising from the Aircraft, or any part thereof, (d) the execution or
delivery of (or the performance, enforcement or amendment of), this Agreement, the Agreement
Supplement or any other Operative Document, (e) the payment of Basic Payments and/or
Supplemental Payments, (f} the conduct of business or affairs of the Sublesscee, or (h) otherwise
with respect to or in connection with the transactions contemplated by the Operative Documents
or the Overall Transaction; provided, however, that the indemnity provided in this Section 21(b)
shall not apply to any Excluded Taxes (such indemnified Taxes hereafier referred to as
“Indemnified Taxes”); provided, further, for the avoidance of doubt, the foregoing obligation of
Sublessee with respect to Indemnified Taxes shall not give Sublessee the right to join any
Indemnitee as a party to any administrative or judicial proceeding without the advance written
consent of such Indemnitee. If any Tax is asseried against or imposed on or with respect to the
Sublessor, or any other Indemnitee, or the property or activities of cither in connection with this
Agreement, the other Operative Documents or the Overall Transaction, unless Sublessee shall
acknowledge that such Tax is an Indemnified Tax and agrce to indemnify Sublessor and any other
applicable Indemnitees in accordance with this Section 21(b), Sublessee shall take such actions as
the Sublessor may reasonably request in writing to facilitate the Sublessor’s ability to assert its |
rights under this Section 21(b) on behalf of the Sublessor and the other Indemnitees, including.
without limitation, by providing all relevant information to Sublessor with respect to such Tax that
is within Sublessee’s, the Sublease Guarantor’s or any of affiliate of Sublessec and/or the Sublease
Guarantor’s possession; provided, that no such action shall interfere with the normal business
operations of an Operating Party or the operation of the Aircraft.

 

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738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 26 of 80

Without limiting the obligation and indemnity contained in this Section 21(b), in the event
that any withholding or deduction from any payment to be made to or with respect to an Indemnitce
in connection with this Agreement, the other Operative Documents or any document or instrument
contemplated thereby is required in respect of any Taxes, then the Sublessce will (a) pay or cause
to be paid directly to the relevant authority the full amount required to be so withheld or deducted;
(b) forward to the affected Indemnitce official receipts or other documentation reasonably
satisfactory to such party evidencing such payment to such authority; and (c) except to the extent
provided in the following provisions of this Section 21(b), and without duplication of any
indemnification required by the preceding provisions of this Section 21(b), with respect to all
Indemnified Taxes indemnified for under this Section 21(b), pay to the affected Indemnitce such
additional amount or amounts as are necessary to cnsure that the net amount actually received by
such Indemnitee will equal the full amount such Indemnitce would have received had no such
withholding or deduction been required. Moreover and similarly without limiting the obligation
and indemnity contained in this Section 21(b), if any Indemnified Taxes are imposed on or with
respect to an Indemnitee, such Indemnitee may pay or cause to be paid such Indemnified Taxes
and except to the extent provided in the following provisions of this Section 21(b), and without
duplication of any indemnification required by the preceding provisions of this Section 21(b), the
Sublessee will indemnify and hold harmless the Indemnitee on an After-Tax Basis for any such
Indemnified Taxes paid, which indemnification obligation shall include reimbursement for any
reasonable out of pocket expenses actually incurred by the [ndemnitee in connection with the
payment of such Indemnified Taxes and receiving the indemnity from Sublessee.

Upon written request, the Sublessee shall furnish the Indemnitee with copies of all paid
receipts or other appropriate evidence of payment for all Taxes paid by the Sublessee pursuant to
this Section 21(b). The provisions of this Section 21(b) shall apply from the date of the execution
of this Agreement notwithstanding that the Base Term may not have commenced with respect to
the Aircraft, and shall survive and continue in full force and effect notwithstanding the expiration
or earlier termination of this Agreement in whole or in part, including the expiration or carlier
termination of the Base Term with respect to any of the Aircraft.

On or before the date hercof or, if later, the date on which it acquires the rights and
obligations of an Indemnitee pursuant to the Operative Documents, cach Indemnitee which is not
a United States person (within the meaning of Section 7701 of the Code) will deliver to the
Sublessce a fully completed and duly executed copy of United States Internal Revenue Service
Form W-8BEN, W-8BEN-E or W-8ECI or successor applicable form, as appropriate, confirming
that such Indemnitee is entitled under Section 1442 of the Internal Revenue Code or any other
applicable provision thereof or under any applicable tax treaty or convention to receive payments
under the Operative Documents without deduction or withholding of United States federal income
tax. Until the obligations of the Sublessee under the Operative Documents have been paid and
performed in full, each such Indemnitee shall also deliver a further copy of such Form W-8BEN,
W-8BEN-E or W-8ECI or any successor forms thereto to the Sublessee on or before expiration or
obsolescence of the form previously delivered by such Indemnitee hereunder, or upon the
occurrence of any event requiring a change in the most recent such form delivered to the Sublessee
unless any change in law or regulation of the United States or any taxing authority thercof has
occurred prior to the date on which such delivery would otherwise be required which renders such
form inapplicable or which would prevent such Indemnitee from completing and delivering such
form. Notwithstanding anything to the contrary in the Operative Documents, the Sublessce shall

22
T3S890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 27 of 80

 

not be required to pay any additional amounts or indemnify an Indemnitee pursuant to this Section
21{b) for United States federal withholding taxes (i) to the extent that any obligation to withhold,
deduct or pay such withholding taxes existed on the date such Indemnitee became a party to any
Operative Document, (ii) imposed on any Indemnitee which has failed to comply with its
obligations under this paragraph if such compliance would have permitted the Sublessee to make
the relevant payment without any such United States federal withholding obligation, or (iii) that

are Excluded Taxes.

(c) A certificate of any Indemnitce setting forth any amount or amounts which
such Indemnitec is entitled to receive pursuant to this Section 21(c), accompanied by calculations
in reasonable detail showing the basis for such amount or amounts, shall be delivered to the
Sublessee and shall be conclusive absent manifest crror.

(d) Payments. Any Tax indemnifiable under Section 21(b) shall be paid by the
Sublessee directly when due to the applicable taxing authority if direct payment is practicable and
permitted, If direct payment to the applicable taxing authority is not permitted or is otherwise not
made, any amount payable to an Indemnitee pursuant to Section 21(b) shall be paid within three
(3) Business Days after receipt of a written demand therefor from such Indemnitee accompanied
by a written statement describing in reasonable detail the amount so payable, but in any event not
before the date that the relevant Taxes are due. Any payments made pursuant to Section 21(b)
shall be made to the Indemnitee entitled thereto in immediately available funds at such bank or to
such account as specified by the payee in written directions to the payor, or, if no such direction
shall have been given, by check of the payor payable to the order of the payee by certified mail,
postage prepaid at its address as set forth in this Agreement. Upon the written request of any
Indemnitee with respect to a Tax that the Sublessee is required to pay, the Sublessce shall furnish
to such Indemnitee the original or a certified copy of a receipt for the Sublessee’s payment of such
Tax or such other evidence of payment as is reasonably acceptable to such Indemnitee.

(e) Reports. In the case of any Tax return or report for which the Sublessec is
required to indemnify an Indemnitee under Section 21(b) and of which Sublessee has actual
knowledge, the Sublessce shall notify such Indemnitee of the requirement to file such Tax return
or report and will promptly provide at the Sublessee’s expense cach [ndemnitee with all
information necessary for the making and timely filing of such reports or returns within thirty (30)
days prior to the due date of such return or report (or such later date that relevant information
becomes reasonably available to the Sublessee) and shall reimburse Sublessor for any reasonabic
out-of-pocket expenses incurred in connection with the preparation and filing of such reports or
retums (or, if any such report or return includes information other than that relating to the Overall
Transaction, for a reasonably allocated portion of such expenses). If an Indemnitee requests in
writing that any such reports or returns be prepared and filed by the Sublessce, the Sublessee will
duly prepare and file at the Sublessee’s expense the same if permitted by Applicable Law to file
the same, and if not so permitted, the Sublessee shall duly prepare such reports or returns for
signature by the Indemnitee, and shall forward the same, together with immediately available funds
for payment of any Indemnified Tax due (as defined in Section 21(b)) to the Indemnitee, at least
ten (10) Business Days in advance of the date such payment is to be made.

(n Reimbursement for Tax Savings. If(x) an Indemnitce shall obtain a credit
or refund of any Indemnified Taxes paid by the Sublessee pursuant to Section 21(b) or (y) by

23

735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 28 of 80

reason of the incurrence or imposition of any Tax for which an Indemnitee is indemnified pursuant
to Section 21(b) or any payment made to or for the account of such Indemnitec by the Sublessec
pursuant to Section 21(b), such Indemnitec at any time realizes a reduction in any Taxes for which
the Sublessee is not required to indemnify such Indemnitee pursuant to Section 21(b), which
reduction in Taxes was not taken into account in computing such payment by the Sublessee to or
for the account of such Indemnitee (having been calculated on an After-Tax Basis), then such
Indemnitee shall promptly pay to the Sublessce (xx) the amount of such credit or refund, together
with the amount of any interest received by such Indemnitee on account of such credit or refund
or (yy) an amount equal to such reduction in Taxes, as the case may be; provided, that no such
payment shall be made so long as an Event of Default shall have occurred and be continuing, in -
which case such amounts shall be applied by Sublessor to satisfy the obligations of Sublessee
under the Sublease, after which any remaining amounts shall be paid promptly by the Sublessor to
the Sublessce after all Events of Default have been cured and, provided, further, that the amount
payable to the Sublessee by any Indemnitce pursuant to this Section 21(f) shall not at any time
exceed the aggregate amount of all indemnity payments made by the Sublessee under Section
21(b) to such Indemnitee with respect to the Taxes which gave rise to the credit or refund or with
respect to the Tax whicli gave rise to the reduction in Taxes less the amount of all prior payments
made to the Sublessee by such Indemnitee under this Section 21(f) with respect to such credit or
refund. Each Indemnitee agrees to act in good faith to promptly claim such refunds and other
available Tax benefits, and take such other actions as may be reasonable to minimize any payment
due from the Sublessee pursuant to Section 21(b). The disallowance or reduction of any credit,
refund or other tax savings with respect to which an Indemnitee has made a payment to the
Sublessee under this Section 21(f) shall be treated as a Tax for which the Sublessec is obligated to
indemnify such Indemnitee hereunder without regard to any exception for Excluded Taxes.

 

(2) Sales and Use Tax. The Parties agree to cooperate and take reasonable
actions (consistent with their respective internal policies and legal and regulatory restrictions and
so long as such efforts would not be materially disadvantageous to such Party, as determined in
their reasonable discretion) to minimize the amount of any and all sales and use tax imposed as a
consequence of the Lessor’s purchase of the Aircraft, the Sublessor’s lease of the Aircraft and the
Sublessor’s sublease of the Aircraft.

(h) Contests.

(i) If a written claim is made against an Indemnitee or if any proceeding
shall be commenced against any Indemnitee (including a written notice of such
proceeding), for any Taxes with respect to which the Sublessee may be liable for
payment or indemnity hereunder or if any Indemnitee shall determine that any Tax
as to which the Sublessee may have an. indemnity obligation hereunder shall be
payable, such Indemnitee shall promptly notify the Sublessee in writing and shall
not take any action with respect to such claim, proceeding or Tax without the
consent of the Sublessee for 30 days after the receipt of such notice by the
Sublessee: provided, however, that, in the case of any such claim or proceeding
(but not in the case of any such determination by the Indemnitcce), if'action shall be
required by law or regulation to be taken prior to the end of such 30-day period,
such Indemnitee shal], in such notice to the Sublessee, so inform the Sublessee, and
no action shall be taken with respect to such claim or Tax without the consent of

24

738800297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 29 of 80

738890297

the Sublessee before the last Business Day of such shorter period; and provided
further that the failure of the Indemnitee to give the notices referred to in this
sentence shall not diminish the Sublessce’s obligation hereunder except to the
extent such failure precludes the ability of the Sublessee to contest such claim. If,
within 30 days of receipt of such notice from the Indemnitee (or such shorter period
as the Indemnitee has notified the Sublessec is required by law or regulation for the
Indemmitee to commence such contest), the Sublessee shall request in writing that
such Indemnitee contest the imposition of such Tax, the Indemnitee shall, at the
expense of the Sublessee, in good faith contest (including, without limitation, by
pursuit of appeals), and shall not settle without the Sublessce’s consent (or (i) if
such contest must be pursued in the name of the Indemnitec, but can be pursued
independently from any other proceeding involving a Tax liability of such
Indemnitee, the Indemnitee shall, if the Sublessee requests, allow the Sublessee to
control the contest unless, in the good faith judgment of the Indemnitec, such
contest by the Sublessee could have a material adverse impact on the business or
operations of the Indemnitee, in which case the Indemnitec may control or reassert
contro! of such contest or (it) in the case of any contest, if the Sublessee requests,
the Indemnitee may allow the Sublessce to control the contest), the validity,
applicability or amount of such Taxes by, in the sole discretion of the Person
conducting such contest (provided that at least five days remain for taking such
action after the date of receipt by the Indemnitee of such request), (i) resisting
payment thereof, (ii) not paying the same except under protest, if protest ts
necessary and proper, (iii) if the payment be made, using reasonable cfforts to
obtain a refund thereof in appropriate administrative and judicial proceedings, or
(iv) taking such other action as is reasonably requested by the Sublessee from time
to lime.

(ii) Notwithstanding the foregoing provisions of this Section 21(h), such
Indemnitee shall not be required to take any administrative or judicial or other
action and the Sublessee shall not be able to contest such claim or Tax in its own
name or that of the Sublessee or the Indemnitee unless (A) the Sublessce shall have
agreed to pay, and shall pay, on an A fter-Tax basis, to such Indemnitee on demand
all reasonable out-of-pocket third party costs and expenses that such Indemnitee
may incur in connection with contesting such claim or Taxes, including all
reasonable Icgal (including non-duplicative internal counsel), accounting and
investigatory fees and disbursements, (B) in the case of a contest controlled by the
Indemnitee, the amount of the potential indemnity (taking into account all similar
or logically related claims that have been or could be raised in any audit involving
such Indemnitee for which the Sublessee may be liable to pay an indemnity under
Section 21(b)) exceeds $10,000, (C) the action to be taken will not result in any
material imminent danger of sale, forfeiture or loss of the Aircraft or any part or
interest therein or risk of criminal liability, (D) if such contest shall involve the
payment of the Tax prior to the contest, the Sublessee shall, at its option (and
notwithstanding anything herein to the contrary), cither (x) pay the Indemnitee for
such Taxes (plus any additional amounts calculated in accordance with Section
21(d)) or (y) provide to the Indemnitce an interest-free advance in an amount cqual
to the Tax which the Indemnitee is required to pay (with no additional net A fter-

25
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 30 of 80

Tax cost to such Indemnitee), (E) in the case of any contest that is being contested
in the name of or which is being controlled by the Indemnitee, the Sublessee shall
have provided to such Indemnitee an opinion of independent tax counsel selected
by the Sublessee, and reasonably satisfactory to the Indemnitec that a reasonable
basis exists to contest such claim, (F) no Event of Default shall have occurred and
be continuing, and (G) in the case of a contest controlled by the Sublesscc, the
Sublessce agrees to indemnify, defend and hold harmless the Indemnitee on an
After-Tax basis for any Taxes with respect to such contest cxcept Excluded Taxes.
In no event shall an Indemnitee be required to appeal an. adverse judicial
determination to the United States Supreme Court. The Indemnitee shall consult in
good faith with the Sublessee regarding the conduct of any contest controlled by
such Indemnitee, shall keep the Sublessee reasonably informed as to the status of
the contest and shall consider in good faith all suggestions made by the Sublessce
regarding the conduct of any such contest, subject to preserving counsel privilege
in the Indemnitce’s reasonable judgment. Notwithstanding anything to the contrary
contained herein the parties agree that an Indemnitce may at any time decline to
take any action with respect to the contest of any claim for a Tax and may settle
such claim, if such Indemnitee shall waive its rights to any indemnity from the
Sublessee that otherwise would be payable in respect of such claim and shall pay
to the Sublessee any amount previously paid or advanced by the Sublessce pursuant
to Section 21(b) other than clause (A) of this paragraph (by way of indemnification
or advance for the payment of an Indemnified Tax) with respect to such Taxes.

(iii) | Notwithstanding anything contained in this Section 21 (h)) to the
contrary, the Indemnitee shall not be required to contest any claim if the subject
matter thereof shall be of a continuing nature and shall have previously been
decided adversely by a court of competent jurisdiction pursuant to the contest
provisions of this Section 21(h), unless there shall have been a change in law (or
interpretation thereof) after the date with respect to which such previous contest
shall have been decided, and the Indemnitee shall have received, at the Sublessee’s
expense, an opinion of independent tax counsel selected by the Sublessee and
reasonably acceptable to such Indemnitee to the effect that as a result of such
change in law (or interpretation thereof), there is substantial authority that the
indemnitee will prevail in such contest.

(iv) If an Indemnitee shall fail to perform its obligations under this
Section 21(h), such failure shail not discharge, diminish or relieve the Sublessce of
any liability for indemnification that it may have to such Indemnitce hercunder,
unless the contest of a claim is precluded as a result of such failure: provided that
any payment by the Sublessee to such Indemnitee pursuant hereto shall not be
deemed to constitute a waiver or release of any right or remedy (including any
remedy of damages) that the Sublessee may have against such Indemnitce if as a
result of such failure the Sublessee’s ability to contest the claim is adverscly
affected.

SECTION 22. Leasing. The Sublessee will not, without the prior written consent of the
Sublessor (which may be withheld in its sole discretion) assign any of its rights hereunder or lease,

26

735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 31 of 80

sublease or grant the right to use, or otherwise relinquish possession or control of, the Airframe or
any Part or Engine: provided, that the Sublessee may provide possession, use and control of the
Aircraft to a Part 135 Operator, and pursuant to arrangements, in each case satisfactory to the
Sublessor in its reasonable discretion). Any attempted assignment, lease or other transfer by
Sublessee in violation of this Agreement or the other Operative Documents will be void. So long
as Sublessee shall comply with the obligations set forth in Section 20 herein, the Sublessee may
deliver possession of the Aircraft for service, repair, maintenance or overhaul work or for
altcrations or modifications in or additions to the Aircrafl to the extent required or permitted by
the terms of this Agreement.

SECTION 23. Sublessee Acknowledgement and Agreement. The Sublessor intends to
assign this Agreement to the Lessor as security for the Sublessor’s obligations under the Lease,

and the Lessor intends to further assign this Agreement to the Lender as security for the Lessor’s
obligations under the Loan Agreement. The Sublessce hereby consents to such assignments, and
agrees (o pay directly to the Lender (or, after receipt of notice by the Sublessee from the Lender
that the Lessor’s obligations under the Loan Agreement have been discharged in full, to the Lessor,
or, after receipt of notice by the Sublessee from the Lessor that the Sublessor’s obligations under
the Lease have been discharged in full and the Sublessor has acquired the Aircraft, to the
Sublessor) all amounts owing by the Sublessee hereunder, including any deposits required to be
made pursuant to Section 12.

SECTION 24. Events of Default. Each of the following events, whether or not caused
by or within the control of Sublessce, shall constitute an “Event of Default” under this Agreement:

(a) the Sublessee shall fail to make payment of any Required Payment (other
than a Supplemental Payment) or Termination Value, as applicable, as and when the same becomes
due and payable;

(b) the Sublessee shall fail to make payment of any Supplemental Payment as
and when the same becomes due and payable and such failure continues for five (5} Business Days
after receipt of written notice;

(¢) one or more judgments or decrees shal] be entered against the Sublessce or
the Sublease Guarantor involving in the aggregate, a liability (not paid or fully covered by
insurance) of $50,000,000.00 or more with respect to any Operating Party and all such judgments
or decrecs shall not have been vacated, dismissed, discharged, bonded or stayed within thirty (30)
days from the entry thereof,

(d) the Sublessee shall fail to perform or observe any covenant, condition or

“agreement (other than those referred to in (a), (b) or (f)) required to be performed or observed by
it under this Agreement or other Operative Document, and such failure continues for ten (10) days

after the cartier of the Sublessee’s actual knowledge thereof or receipt of written notice; provided,

that if such failure is capable of being remedied and the Sublessee is diligently pursuing such

remedy, such failure shall not constitute an Event of Default unless the same shall not have been

remedied for a period of thirty (30) days after receipt of written notice of such Default by the

Sublessee; or

27

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 ‘Page 32 of 80

(c) the Sublessce shall default in any of its obligations under Section 20;

(f) any representation or warranty made by the Subliessee in this Agreement or
any other Operative Document or in any statement or certificate furnished to the Sublessor
pursuant to or in connection herewith shall be false or misleading in any material respect when
made or given: provided, that if such incorrect in any material respect representation or warranty
is capable of being remedied and the Sublessce is diligently pursuing such remedy, such incorrect
representation or warranty shall not constitute an Event of Default unless the same shall continue -
to be incorrect and shall not have been remedied for a period of thirty (30) days after receipt of
written notice thereof by the Sublessee;

(g) the Sublessce (i) becomes insolvent, or (i1) files any application or petition
in any tribunal for the appointment of a receiver or trustee for all or a significant portion of its
assets, or (iii) commences any proceeding under any bankruptcy or reorganization statute or under
any provision of the U.S. Bankruptcy Code or under any dissolution or liquidation law whether
now or hereafter in effect or (iv) makes an assignment for the benefit of creditors or is adjudicated

bankrupt:

(h) an involuntary case or other proceeding shall be commenced against the
Sublessee seeking liquidation, reorganization or other relief with respcct to it or its debts under
any bankruptcy, insolvency or other similar law now or hereafter in effect or secking the
appointment of a trustee, receiver, liquidator, custodian or other similar official of it or any
substantial part of its property, and, if such proceeding is being contested in good faith, such
involuntary case or other proceeding shall (A) result in the entry of an order for relief or any such
adjudication or appointment or (B) continue undismissed and unstayed for a period of sixty (60)
consecutive days;

(i) the Sublessee shall (i) default beyond any applicable period of grace in any
payment of principal of or interest on any indebtedness for any borrowed money for the Sublessec
is liable in a principal amount then outstanding of $50,000,000.00 or more or (ii) an event of default
(other than a failure to pay principal or interest) as defined in any mortgage, indenture, agreement
or instrument under which there may be issued, or by which there may be secured or evidenced,
any indebtedness for any borrowed money for which the Sublessce is liable in a principal amount
then outstanding of $50,000,000.00 or more shall happen and shall result in such indebtedness
becoming or being declared due and payable prior to the date on which it could otherwise become
due and payable:

7) the Lender, the Lessor or the Sublessor shall at any time cease to have a -
valid and perfected (in the case of the Lender, first priority) security interest in the Aircrafi, subject
to no Liens other than any Permitted Licns and such failure shall continue unremedied or unbonded

for ten (10) days: or

. (k) the Sublease Guaranty shall] not be in full force and effect.

SECTION 25. Remedies, (a) If an Event of Default specified in Section 24(h) or (i)
above occurs, then automatically and without any declaration or other action by the Sublessor or
any other Person, this Agreement shall be in default and the Sublessec will immediately pay to the

28

738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 33 of 80

Sublessor the aggregate Termination Value for the Aircraft together with (without duplication) all
accrued and unpaid Required Payments and all other sums (including costs and expenses) due and
payable to the Sublessor hercunder together with interest on cach such amount at the Late Payment
Rate (such amount with interest being the “Default Payment Amount”). Upon the occurrence and
during the continuance of any other Event of Default, the Sublessor may declare this Agreement
to be in default by making written demand on the Sublessce for payment of the Default Payment
Amount, and the Sublessee shall pay to the Sublessor, on the date set forth in such demand, an
amount cqual to the Default Payment Amount. Upon the occurrence and during the continuance
of any Event of Default and the payment by the Sublessee of the Default Payment Amount, the
Sublessor shall, pursuant to a written instrument, convey to the Sublessee the Aircraft without
recourse or warranty (except as to the absence of Sublessor Licns), in an “as-is, where-is”
condition,” free and clear of all Sublessor Liens.

(b) If an Event of Default has occurred and is continuing, then the Sublessor
may, in addition to, and not in limitation of, any remedy referred to in Section 25(a) at its option,
declare this Agreement to be in default under this Section 25(b) by written notice to such effect
given to the Sublessec, and at any time thereafter, but subject to the last sentence of Section 25(a),
the Sublessor may exercise one or more of the following remedics with respect to all or any Part
of the Aircrafi, as the Sublessor in its sole discretion shall elect, all at the sole expense of the

Sublessee:

(i) proceed by appropriate court action, either at law or in equity, to
enforce performance by the Sublessee of the applicable covenants of this
Agreement or to recover damages for the breach thereof,

(ii) by written notice to the Sublessee cancel this Agreement or
terminate the Sublessor’s obligations hereunder whereupon all rights of the
Sublessee to the use of the Aircraft or any part thereof will terminate, but the
Sublessee will remain liable to the extent herein provided;

(ii) if so requested by the Sublessor, the Sublessee will at its sole
expense promptly return the Aircraft to the possession of the Sublessor at such place
as the Sublessor designates;

(iv) the Sublessor may enter upon the premises where all or any of the
Aircraft or any Part thereof is located to take immediate possession of and remove
the same together with cither Engines and Parts, by summary proceedings or
otherwise, so long as any such entry does not cause or result in a breach of the
peace;

(v) the Sublessor may sell (if the Lessor’s obligations under the Loan
Agreement have been discharged in full and the Sublessor’s obligations under the

' Lease have been discharged in full and the Sublessor has acquired the Aircraft
under each Residual Value Guaranty) or lease all or any of the Aircraft, either
Engine or any Part, at public auction or by private Icase at such terms as Sublessor
may determine in its sole discretion, free and clear of any rights of the Sublessec

29

733890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 34 of 80

with not less than ten (10) Business Days prior written notice to the Sublessee
thereof which is agreed to constitute reasonable notice thereof to the Sublessee:

(vi) the Sublessor may exercise any and all rights and remedies available
to a creditor or assignee under the Cape Town Agreements (including, but not
limited to the rights and remedies of a creditor and/or chargec under Articles 8, 9,
10, 12 and 13 of the Convention, and Articles [X and XIII of the Protocol and as an
assignee under Article 34 of the Convention, as applicable): and

(vii) the Sublessor may exercise any and all rights accruing to a secured
party and creditor in the event of a default by the Sublessce under any Applicable

Law.

(c) To the extent that all Required Payments then due and payable to the
Sublessor with respect to all or any of the Aircraft and the aggregate Termination Payment have
not been previously paid, the Sublessee will forthwith pay to the Sublessor the amount thereof in
full. Any repossession or subsequent sale (to the extent permitted hereunder) or lease (or exercise
of other remedy) by the Sublessor or any other Person of all of any of the Aircraft will not bar any
action for a deficiency as herein provided, and the bringing of an action or the entry of judgment
against the Sublessce will not bar the Sublessor’s right to repossess the Aircraft.

(d) No remedy referred to herein is intended to be exclusive, but each will be
cumulative and in addition to any other remedy referred to above or otherwise available at law or
in equity. No waiver of any Event of Default hereunder will in any way be, or be construed to be,
a waiver of any future or subsequent Event of Default. The failure or delay of the Sublessor or
any other Person in exercising any rights granted it hereunder upon any occurrence and during the
continuance of any Event of Default set forth herein will not constitute a waiver of any such right
upon the continuation or recurrence of any such Event of Default or any other Event of Default
and any single or partial exercise of any particular right by the Sublessor will not exhaust the same
or constitute a waiver of any other right provided herein.

SECTION 26. Notices. All communications and notices provided herein will be in
writing and will become effective on the day after having been deposited with a nationally
recognized overnight courier service, addressed, if to the Sublessee or Sublessor, at their respective
addresses set forth below or such other address as any party may hereafter designate by written
notice to cach of the other parties.

If to the Sublessee:

Wing Spirit Inc.

55 Merchant Street, Suite 1600
Honolulu, HI 96813

Attn: Chief Legal Officer

Email: scan. chu@wingspirit.com

If to the Sublessor:

30

738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 35 of 80

Honda Aircraft Company, LLC

6430 Ballinger Road

Greensboro, NC 27410 USA
Attention: contracts@haci.honda.com

With a copy to:

MAS One USA LLC

3420 South Ocean Blvd

#10T

Highland Beach, FL 32487

Attn: Douglas Brennan

Email: douglas.brennan@gmail.com

With a copy to:

Bank of Utah, as Owner Trustee
50 South 200 East, Suite 110

Salt Lake City, Utah 84111}

Attn: Corporate Trust Services
Fax: (801) 924-3630

Email: corptrust@bankofutah.com

SECTION 27. Successors and Assigns. The Sublessor may not assign, sell or otherwise
transfer all or any portion of the aggregate Termination Payment, the Required Payments or its
interest in the Aircraft, this Agreement and/or any of the other Operative Documents, in each case,
without the prior written consent of the Sublessee, such consent not to be unreasonably withheld,
conditioned or delayed; provided, that Sublessee’s consent shall not be required if an Event of
Default shall have occurred and be continuing. Sublessee may not assign its interest in this
Agreement and any other Operative Document without the Sublessor’s prior written consent.
Provided that, in the case of an assignment by the Sublessor, no Event of Default has occurred and
is continuing, the assigning party agrees to reimburse the other party for all costs, fees and
expenses, included reasonable and documented fees and expenses of such other party’s counsel
incurred in connection with any such sale, assignment, grant of security interest or leveraged
transaction entered into by the assigning party. Any assignment in breach of this Section 27 shall

be void.

SECTION 28. Performance of Obligations of the Sublessec by the Sublessor. Ifan Event

of Default occurs and is continuing hereunder, the Sublessor may thereafter make the payment or
perform or comply with this Agreement, the nonpayment, nonperformance or noncompliance with
which caused such Event of Default, and the amount of such payment and the amount of reasonable
expenses of the Sublessor incurred in connection with the performance of or compliance with such
provision of this Agreement, as the case may be, together with interest at the Late Payment Rate,
will be payable by the Sublessee upon demand by the Sublessor, and such action by the Sublessor
will not be deemed a cure or waiver of any Default or Event of Default hereunder until payment
of such amount has been made by the Sublessee.

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 36 of 80

SECTION 29. Further Assurances. The Sublessce will, at its expense, promptly and duly
execute and deliver to the Sublessor such further documents and assurances to take such further
action as the Sublessor may from time to time reasonably request in writing in order to more
effectively carry out the intent and purpose of this Agreement and the Overall Transaction and to
establish and protect the rights and remedics created or intended to be created in favor of the
Sublessor hereunder and thereunder, including without limitation, if reasonably requested by the
Sublessor in writing, the execution and delivery of UCC financing statements or any filing with
the FAA or other Governmental Authority, in recordable form subjecting this Agreement, the
Aircraft and any replacement Engine to the rights of the Sublessor under this Agreement in
accordance with the laws of such jurisdictions as the Sublessor may from time to time decm

advisable.

SECTION 30. Purchase Option: Return and Return Conditions. (a) Purchase Option. If
this Agreement shall not have been earlier terminated in accordance with its terms, and provided

no Event of Default shall have occurred and be continuing and that the Lessor has not elected to
require the Sublessor, as guarantor, to repurchase the Aircraft under the terms of the Residual
Value Guaranty, the Sublessee shall have the option, on the Base Term Expiry Date, to purchase
the Aircraft. The Sublessce shall, no later than the date that is forty-five (45) days prior to the
Base Term Expiry Date, provide the Sublessor with irrevocable written notice of the Sublessce’s
intent to so purchase. Any such purchase of the Aircraft shall be made pursuant to Section 30(b).

(b) Purchase Obligation. In the event that the Lessor elects to require the
Sublessor, as guarantor under the Residual Value Guaranty, to repurchase the Aircraft upon cither
(i) the expiration of the Lease, or (ii) an Event of Default under the Lease, the Sublessor shall have
the right upon written demand from the Sublessor to the Sublessee to require the Sublessee to
purchase the Aircraft under the same terms and conditions that the Sublessor has agreed to under

the terms of the Residual Value Guaranty.

(c) Purchase Option Payment. Upon any determination to purchase the Aircraft
pursuant to Section 30(a), the Sublessee shall pay to the Sublessor on the date fixed for such
purchase an amount equal to the sum of, without duplication: (i) all Required Payments then due
and owing under this Agreement, plus (ii) any sales and other Taxes due or payable in connection
with the sale of the Aircraft by the Sublessor to the Sublessee or to any Person designated by the
Sublessee, plus (iii) the Termination Value for the Aircraft. Upon reccipt of the amounts set forth
in the preceding sentence, Sublessor shall release its security interest (and cause the Lender to
rclease its security interest) in the Aircraft, shall exercise its purchase option under the Lease and
shall convey all of the Sublessor’s rights and interest in the Aircraft, including the warrantics of
the Manufacturer, to the Sublessce or to any Person designated by the Sublessec on an “AS IS,
WHERE IS” BASIS WITHOUT REPRESENTATION OR WARRANTY, EXPRESS OR
IMPLIED, and without representation, warranty or recourse to the Sublessor or any other
Indemnitee (express or implied) except for the absence of Sublessor Liens. Payment of the
foregoing shall not limit or otherwise affect any indemnity obligation of the Sublessee which is
not satisfied in full by the date of such payment.

(d) Return and Retum Conditions. In the event that the purchase option in
Section 30(a) is not exercised on the Base Term Expiry Date, the Sublessee shall cause cach
Aircraft to be returned to the Sublessor in compliance with the conditions required under the

32
738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 37 of 80

applicable Residual Value Guaranty, a copy of which has been delivered. Such conditions are
hereby incorporated herein as though set forth herein in full.

SECTION 31. Miscellancous. (a) Survival: Successors and Assigns. All agreements,
representations and warranties contained in this Agreement or any Operative Document delivered
by the Sublessee and the Sublessor will survive the execution and delivery of this Agreement. All
indemnities contained herein will survive the expiration or earlier termination of this Agreement.
The provisions of this Agreement will be binding upon, and inure to the benefit of, the successors
and permitted assigns of the Sublessor and the successors and permitted assigns of the Sublessec.

(b) Tax Treatment. It is hereby agreed by the parties hereto that (a) for United
States federal, state and local income and franchise tax purposes, it is intended that (i) the Purchase
Agreement shall convey the entire economic interest in the Aircraft to the Lessor, (ii) the Lessor
shall be treated as the owner of the Aircraft, and (iii) the Lease shall be treated as a true lease (and
not as a conditional sale) under which the Lessor shall be treated as the lessor of the Aircraft, and
(b) the Sublessce will not take a position contrary to the positions and intentions contained in
clause (a) above in any U.S. federal, state or local income or franchise tax return that may be filed

by the Lessee.

(c) No Consequential Damages. Notwithstanding anything to the contrary in
this Agreement or any other Operative Documents, in no event shall any party hereto have any
liability for special, indirect or consequential damages resulting from or arising out of this
Agreement or any of the other Operative Documents or the Overall Transaction, including, without
limitation, loss of profits or business interruption, however the same may be caused.

(d) Severability. Any provision of this Agreement which may be determined
by competent authority to be prohibited or unenforceable in any jurisdiction will, as to such
jurisdiction, be ineffective to the extent of such prohibition or unenforceability without
invalidating the remaining provisions hercof, and any such prohibition or unenforceability in any
jurisdiction will not invalidate or render unenforceable such provision in any other jurisdiction.
To the extent permitted by Applicable Law, each Operating Party and the Sublessor hereby waives
any provision of law which renders any provision hereof prohibited or unenforceable in any
respect. The terms and conditions of this Agreement have been negotiated in good faith by the
parties, and no rule of construction resolving any ambiguity against a drafting party will apply.

(e) Entire Agreement. This Agreement, Agreement Supplement and the other
Operative Documents and all Schedules and Exhibits thereto executed by the Sublessor and the
Sublessce constitute the entire, complete and exclusive statement of the terms of the agreement
between the parties hereto with respect to the Aircraft and the Overall Transaction. No express or
implied waiver by the Sublessor of any Event of Default hereunder will in any way be, or be
construed 10 be, a waiver of any future or subsequent Event of Default whether similar in kind or
otherwise. No term or provision of this Agreement may be changed, waived, altered, modified,
amended, rescinded, supplemented or terminated except by a written agreement signed by the
Sublessor, and Sublessee.

(f) Counterparts. This Agreement may be executed by the parties hercto on
any number of separate counterparts, each of which when so executed and delivered will be an

33

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 38 of 80

original, but all such counterparts will together constitute but one and the same instrument.
Delivery of an executed signature page hereto by facsimile or other electronic means shall be
equally effective as delivery of an originally executed signature page.

(g) Headings. The division of this Agreement into subsections, the provision
of a table of contents and the insertion of headings are for the convenience of reference only and
will not affect the construction or interpretation of this Agreement.

(h) Expenses. Each Party shall, whether or not the transactions contemplated
herein are consummated, pay all reasonable out-of-pocket costs and expenses incurred by such
Party in connection with the negotiation, preparation, reproduction, execution and delivery of the
Operative Documents, including all reasonable fees and disbursements of its respective counsel.
The Sublessee wil! pay the reasonable and documented costs of FAA Counsel. In addition, the
Sublessec agrees to pay or reimburse or cause to be paid or reimbursed the Sublessor for all other
reasonable out-of-pocket costs and expenses, including reasonable and documented attorneys’ fees
incurred in connection with entering into or giving or withholding any future amendments,
supplements, waivers or consents with respect to this Agreement or any other Operative
Document. The Sublessee further agrees to pay or reimburse or cause to be paid or reimbursed
the Sublessor for all other reasonable out-of-pocket costs and expenses, including the reasonable
and documented attorneys’ fecs incurred in connection with (a) the negotiation and documentation
of any amendments, modifications, restructuring or “workout” (whether or not consummated) of
this Agreement, any other Operative Document, and the transactions contemplated hereby during
the pendency of an Event of Default, (b) the enforcement of rights or remedies under this
Agreement or any Operative Document or (c) any transfer by the Sublessor of any interest in this
Agreement or any other Operative Document during the existence and continuance of an Event of
Default.

(i) Jurisdiction. THIS AGREEMENT SHALL IN ALL RESPECTS BE
GOVERNED BY, AND CONSTRUED AND INTERPRETED IN ACCORDANCE WITH,
THE LAWS OF THE STATE OF NEW YORK, INCLUDING SECTION 5-1401 AND
SECTION 5-1402 OF THE NEW YORK GENERAL OBLIGATIONS LAW, BUT
EXCLUDING TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
ALL OTHER CONFLICTS OF LAWS PRINCIPLES AND CHOICE OF LAW RULES OF
THE STATE OF NEW YORK. EACH PARTY HERETO HEREBY IRREVOCABLY
WAIVES ANY AND ALL RIGHT TO TRIAL BY JURY IN ANY PROCEEDING
BROUGHT IN CONNECTION WITH THIS AGREEMENT.

GQ) Grant of Security Interest.

(1) As collateral security for the prompt and complete payment
and performance as and when due of all the debts, duties, liabilities and obligations of the
Sublessee hereunder and under the Agreement Supplement and Operative Documents (including,
without limitation, all Basic Payments, Supplemental Payments, Termination Payments and
payments of the Termination Value), the Sublessce hereby assigns, pledges, transfers, grants,
conveys and hypothecates to the Sublessor for its benefit, a continuing security interest,
international interest (as defined in the Cape Town Agreements) and licn (subject to Permitted
Liens) in and to, all of its present and future right, tithe and interest in, to and under the following

34

738R90297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 39 of 80

(collectively, the “Collateral”): (A) each of the Aircraft, Engine and Part, additions, attachments
and accessions thereto and any and all replacements and substitutions thereto installed or
incorporated in or attached to the Aircraft: (B) all Logs in respect of the Aircraft, the Airframe,
cither Engine or any Part, (C) any and all warranty or other claims the Sublessce may have against
any Manufacturer, cither Engine manufacturer or any supplier, vendor or other facility providing
parts or services in respect of the Aircraft, either Engine or any Part, in cach case, to the extent
permitted, and subject to any consent required, under any contract, agreement or other instrument
with the Manufacturer or other manufacturer, supplier, vendor or other Person, (D) any and all
other agreement(s) respecting the Aircraft, and Sublessee’s rights to reccive, cither directly or
indirectly, from any party or person, any payments or performance obligations due under such
agreement(s) and any Associated Rights and International Interests (and the right to discharge said
in International Interests} created by or through such agrecments(s); (E) all moneys paid to or
deposited with the Sublessor or the Lender and any right to the return or repayment thereof,
pursuant to and with regard to the Collateral, this Agreement, and any of the other Operative
Documents, and (F) all insurance proceeds and any and all other Proceeds from any or all thereof.
“Proceeds” shall have the meaning ascribed to it under the UCC as in effect in the State of New
York from time to time, and, in any event, shall include, but not be limited to, (X) any and all
proceeds of any insurance, indemnity, warranty or guarantee payable to the Sublessce from time
to time with respect to any of the Collateral, (Y) any and all payments (in any form whatsoever)
made or due and payable to the Sublessee from time to time in connection with any requisition,
confiscation, condemnation, seizure or forfeiture of all or any part of the Collateral by any
governmental authority or any other Person (whether or not acting under color of governmental
authority), and (Z) any and all other amounts from time to time paid or payable under or in
connection with any of the Collateral,

(2) The Sublessce further agrees that at any time and from time
to time, at the reasonable expense of the Sublessee, the Sublessee will promptly execute and deliver
or cause to be executed and delivered all further instruments, and documents and take all further
action that may be necessary that the Sublessor may request, to perfect and protect any security
interest granted or purported to be granted hereby or under the Lease or the Security Agreement
or to cnable the Sublessor, the Lender or the Lessor to exercise and enforce its rights and remedies
hereunder with respect to any Collateral. Without limiting the generality of the foregoing, the
Sublessee will execute and file or cause to be executed and filed such financing statements
(including, without limitation, amendments thereto and continuation statements thereof),
assignments, short form security agreements and other documents and instruments, and do all such
other acts relating to the Collateral and the Sublessor’s interests thercin as the Sublessor may
reasonably request in writing; and will not file or permit to be filed any financing statement, filing
with any Governmental Authority, title or other security document (or amendment thereto or
continuation stalement thereof) with respect to, or affecting, any of the Collateral not naming the
Sublessor as the only secured party except with respect to any such filing related to a Permitted
Lien.

(3) Upon the occurrence and during the continuance of an Event
of Default, the Sublesser shall be entitled to all remedies of a lessor and/or secured creditor in
default under Article 2A and/or 9, as applicable of the New York UCC, as well as to all other rights
and remedies provided by law, equity, contract or otherwise.

35

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 40 of 80

SECTION 32. Certain Special Provisions. (a) No recourse (except as to rights assigned
pursuant hercto and to proceeds, collections, payments and recoveries with respect to the Operative
Documents and the Overall Transaction) shall be had for the payment of any amount owing in
respect of any obligation or claim arising out of or based upon this Agreement or any other
Operative Document against the Sublessor or against any stockholder, employee, officer, director
or incorporator of the Sublessor: provided, however, that the foregoing shal] not rclieve any such
Person or entity from any liability they might otherwise have arising from his, her or its gross
negligence, willful misconduct, intentional breach or intentional misrepresentation.

(b) It is expressly agreed by the parties hereto that this Agreement shall not be
amended, supplemented, restated or otherwise modified without the prior written consent of the
Sublessee and the Sublessor.

{Signature Pages Follow]

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36

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 41 of 80

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IN WITNESS WHEREOEFR, the parties hereto have each caused this Aircraft Sublease
Agreement to be duly executed by their respective officers thereunto duly authorized.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)
77 Dotusigned by:

@/ Jo

By: \ ei 7ORODBBENAGBS...

Name: cjaude prailard
Title: vice President

 

Sublease Agreement
735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 42 of 80

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WING SPIRIT INC.,
(as the Sublessce)
(7 GoouSigned by:
Seaw |. (low
By: \ nee STEBIFFOCROZSED.

 

Name: Sean |. Chu
Title: ;
Senior VP and Chief Legal Officer

Sublease Agreement
735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 43 of 80

SCHEDULE 1
INSURANCE REQUIREMENTS
A. Liability Insurance

Subject to the rights of the Sublessee under Section F of this Schedule [. the
Sublessec shall, without expense to the Sublessor, maintain or cause to be maintained in effect at
all times with Approved Insurers, public liability insurance (including, without limitation, aircraft
third party, passenger legal liability, property damage, war liability, general third party legal
liability, product liability coverage and war risk, hijacking and allied perils coverage but excluding
manufacturer's product liability coverage) with respect to the Aircraft in an amount not less than
$100,000,000. Such insurance policies shall be of the type usually carried with respect to similar
aircraft and engines, and covering risks of the kind customarily insured against by the such
insurance policies; provided, that the amount of coverage per occurrence shall be no less than

$100,000,000.
B. Hull Insurance

Subject to the rights of the Sublessee under Section F of this Schedule 1, the Sublessce
shall, without expense to the Sublessor maintain or cause to be maintained in effect at all mes
with Approved Insurers (i) all risk ground and flight hull and spares insurance and (ti) all risk
ground and flight hull and spares war insurance, in each case covering the Aircraft for an amount
at all times (even when the Aircraft are grounded or in storage) not less than $110% of the
Termination Payment which would be due at such time. A “50/50” clause shall be included in
both the hull and bull war policies if written in separate policies. Such insurance shall not provide
any insurer with a right to replace any Airframe or Engine with another airframe or engine. Such
hull insurance or other insurance of the Sublessee shall cover Engines and Paris temporarily
removed from an Airframe, pending replacement by installation of the same or similar Engines or
Parts on such Airframe in accordance with Section 14 and Section 15 of the Agrecinent. Such
insurance policies shall be of the type usually carried with respect to similar aircraft and engines,
and covering risks of the kind customarily insured against by the such insurance policies; provided,
that the amount of coverage per occurrence shall not at any given time less than $110% of the
Termination Payment which would be due at such time.

Any policies of insurance carried in accordance with this Section B covering the Aircraft
and any policies taken out in substitution or replacement for any such policies (i) shall name the
Lender as exclusive loss payee for any proceeds to be paid under such policies and (ii) shall provide
that (A) if'an Event of a Loss with respect to the Aircraft occurs, the proceeds in respect of such
I:vent of Loss shall be payable to the Lender and (B) the entire amount of any loss with respect to
the Aircraft involving proceeds of $50,000 or less or the amount of any proceeds of any loss in
excess of the Termination Payment for the Aircraft shall be paid to the Sublessce or its designee:
provided, that ifany Event of Default shall have occurred and be continuing and the insurers have
been notified thereof by the Sublessor or the Lender such payment referred to in clause (B) shall
be made as provided in clause (i) above; provided, further, that, subject to the terms of this
Agreement, at such time as there shall not be continuing any Event of Default, any of the foregoing
amounts so held that have not otherwise been applied as contemplated herein shall be paid to the

 

Schedule 1
73488902907
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 44 of 80

Sublessee. In the case of a loss with respect to an engine (other than an Engine) installed on an
Airframe, the Sublessor and/or Lessor, as the case shall be, shall hold any payment to it of any
insurance proceeds in respect of such loss for its account, the Sublessee or any other third party
that is entitled to receive such proceeds.

Cc. General Provisions

The Sublessee shall cause all policies of hull insurance carried in accordance with Sections
A and B of this Schedule I, to name the Lender as loss payec and all policies of liability insurance’
to name each Indemnitec as an additional insured. Such policies shall provide with respect to cach
Indemnitee as an additional insured that (i) none of such Indemnitee’s interest in such policies
shall be invalidated by any act or omission or breach of warranty or condition contained in such
policies by the Sublessec; (ii) no cancellation or lapse of coverage for nonpayment of premium or
otherwise, and no substantial change of coverage which adversely affects the interests of such
Indemnitee, shall be effective as to such Indemnitec until thirty (30) days (or such lesser period as
may be applicable in the case of any war risk, hijacking and allied perils insurance coverage) after
receipt by the related Approved Insurer of written notice from the insurers of such cancellation,
lapse or change; (iii) such Indemnitee shall have no liability for premiums, deductibles,
commissions, calls, assessments or advances with respect to such policies (for all of which the
Sublessce shall be liable); (iv) such policies will be primary without any right of contribution from
any other insurance carricd by such Indemnitee; (v) the insurers waive any rights of set-off,
counterclaim, deduction or subrogation (except for with respect to outstanding premium) against
such Indemnitee; (vi) such policies shall apply worldwide and have no territorial restrictions or
limitations and (vii) to the extent that Sublessee reinsures, shall be effected through insurers
and brokers of international standing and repute in the London or U.S. markets and/or other
recognized and customary markets or such other arrangement as may be acceptable to the
Sublessor and agreed in writing between the Sublessor and the Sublessee. If the insurance required
hereby is effected other than through insurers and brokers of international standing and repute in
the London or U.S. markets and/or other recognized and customary markets, at least one hundred
percent (100%) of the coverage will be reinsured on the international aviation insurance market
and such reinsurance shall include a “‘cut-through” clause (to the extent permitted by applicable
law) in form and substance acceptable to the Sublessor. Each liability policy shall provide that all
the provisions thereof, except the limits of liability, shall operate in the same manner as if there
were a separate policy covering each insured and provide that the exercise by the insurer of rights
of subrogation derived from rights retained by the Sublessee will not delay payment of any claim
that would otherwise be payable but for such rights of subrogation.

D. Reports and Certificates; Other Information

The Sublessce will furnish or cause to be furnished to the Sublessor and the Lender (A) on
or prior to each Delivery Date insurance certificates describing in reasonable detail the insurance
maintained by the Sublessce as required pursuant to this Schedule [ with respect to the Aircraft
being delivered on such Delivery Date, (B) prior to the cancellation, lapse or expiration of the
insurance policics required pursuant to this Schedule I, evidence of renewal of such insurance
policies, and a copy of the renewed or new insurance policies with all endorsements not later than
ten (10) days after any such cancellation, Japse or expiration, and (C) on or prior to cach Delivery
Date and on or before the renewal dates of the insurance policies carried by the Sublessce pursuant

Schedule |

735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 45 of 80

to this Schedule J, a report signed by the applicable Approved Insurer stating the opinion of such
Approved Insurer that all premiums in connection with the insurance then due have been paid and
the insurance then carried and maintained on the Aircraft complies with the terms hercof and, in
the case of renewal insurance, that such renewal insurance will on and after the cffective date
thereof so comply with the terms hercof (except that such opinion shall not be required with respect
to war risk insurance provided by the FAA); provided, that all information contained in such report
shall be held confidential by the Sublessor and the Lender. The Sublessee will instruct or cause
the Sublessee to instruct such Approved Insurer to give prompt written advice to the Sublessor and
the Lender of any default in the payment of any premium and of any other act or omission on the
part of the Sublessee of which it has knowledge and which would in such Approved Insurer's
opinion invalidate or render unenforceable, in whole or in any material part, any insurance on the
Aircraft. The Sublessee will also instruct or cause the Sublessee to instruct such Approved Insurer
to advise the Sublessor and the Lender in writing at least thirty (30) days prior to the termination
or cancellation of (but not scheduled expiration of), or materia] adverse change in, such insurance
carried and maintained on the Aircraft pursuant to this Schedule I.

E. Right to Pay Premiums

The Sublessor, the Lessor and the Lender shall have the rights but not the obligations of an
additional named insured. Neither the Sublessor, the Lessor nor the Lender shall have any
obligation to pay any premium, commission, assessment or call due on any such insurance
(including reinsurance). Notwithstanding the foregoing, in the event of cancellation of any
insurance due to the nonpayment of premiums, each of the Sublessor, the Lessor and the Lender
shall have the option, in its sole discretion, to pay any cash premium in respect of the Aircraft that
is due in respect of the coverage pursuant to this Agreement and to maintain such coverage, as the
Sublessor, the Lessor or the Lender may reasonably require, until the scheduled expiry date of
such insurance and, in such event, the Sublessee shall, upon demand, reimburse the Sublessor, the
Lessor or the Lender, as the case may be, amounts so paid by it.

F, Continuation of Insurance

The Sublessee will, or will procure that any sublessee will, maintain liability insurance (products
liability) after, as the case may be (a) the Base Term Expiry Date, (b) the termination of this
Agreement or (c) the effective date of any transfer by the Lessor and/or the Sublessor and/or any
beneficial owner thereof of its interest in the Aircraft and this Agreement to cover the Sublessce's
continuing liability under the indemnities in this Agreement for a period of two (2) years or until
completion of the next 600 hour inspection on the Aircraft, whichever occurs sooner.

Each Indemnitee (as advised to the Sublessce in writing by the Sublessor from time to time), at the
Sublessee's cost and expense, will be named as additional insured under the insurance maintained
in accordance with the immediately preceding paragraph and neither the Sublessce nor any
sublessec ceasing to lease the Aircraft, nor such Indemnitec ceasing to have any interest in it, will
affect the Sublessee’s obligations under this Section F.

G. Failure to Insure

Schedule |
738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 46 of 80

Without limiting the provisions of Section 20 of this Agreement or of the other provisions of this
Schedule I, ifthe Sublessee fails to insure or procure that the Aircraft is insured in accordance with

this Agreement, it shall bmmediately notify the Sublessor and:

(i) any Indemnitee may (but shall not be obligated to) pay outstanding premiums or effect
alternative insurance in respect of the Aircraft and any cost incurred by an Indemnitee in the
exercise of this right will be reimbursed by the Sublessee on demand; and

(ii) the Sublessor may (but shal] not be obligated to) require the Aircrafi to be grounded at an
airport of its choice and to remain there until it is once again insured in accordance with this

Agreement.

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TESROUZ97
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 47 of 80

EXHIBITA
DEFINITIONS

(a) The following terms shall have the following meanings for all purposes of the
Operative Documents referred to below, unless otherwise defined in an Operative Document or
the context thereof shall otherwise require and such meanings are equally applicable both to the
singular and plural forms of the terms defined. All capitalized terms used herein and not defined
herein shall have the meanings set forth in the Lease, mutatis mutandis. Any term defined below
by reference to any agreement or instrument shall have such meaning whether or not such
apreement or instrument is in effect. The terms “hereof,” “herein,” “hereunder” and comparable
terms refer to the entire agreement with respect to which such terms are used and not to any
particular Section, subsection, paragraph or other subdivision thereof.

(b) Unless the context otherwise requires or the definition expressly provides
otherwise, references to (i) agreements shal] include sections, schedules, exhibits and appendices
thercto and shall be deemed to mean and include such agreements (and sections, schedules,
exhibits and appendices) as the same may be amended, supplemented and otherwise modified from
time to time in accordance with the terms thereof, (ii) parties to agreements or government agencies
shall be deemed to include the successors and permitted assigns of such parties and the successors
and assigns of such agencies and (iii) laws or regulations shall be deemed to mean such laws or
regulations as the same may be amended from time to time and any superseding laws or regulations
covering the same subject matter.

(c) Unless otherwise specificd herein or in any Operative Document, all accounting
terms used in any Operative Document shall be interpreted, all accounting determinations made
pursuant to the terms of any Operative Documents shall be made, and all financial statements
delivered pursuant to the terms of any Operative Document shall be prepared in accordance witl
GAAP.

(d) The following terms have the following meanings for all purposes of the
Agreement:

“Abatements” has the meaning set forth in Section 11 of this Agreement.

“Administrative User” means, in relation to any person, the person appointed by, or on
_ behalf of, such person to carry out the functions of an administrator of a register user entity under
section 5 of the procedures for the International Registry, as issued by the Supervisory Authority.

“ADs” means any FAA Airworthiness Directive,

_ “After-Tax Basis” means, with respect to any payment to be received, that the amount of
such payment ts increased to the extent necessary so that, after deduction of the amount of all
Taxes (assuming for this purpose that the recipient of such payment is subject to taxation at the
highest U.S. federal and applicable state and local marginal tax rates applicable to widely held
corporations for the year in which such income is taxable) required to be paid by the recipient less
any tax savings actually realized (utilizing the same tax rate assumptions as set forth in the

A-l

735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 48 of 80

immediately preceding parenthetical phrase) with respect to the receipt by the recipient of such
amounts or the event giving rise to the payment, such increased payment (as so reduced) is equal
to the payment otherwise required to be made. In calculating any tax savings realized by the
recipient as a result of the payment of the indemnified amount, such savings shall for purposes of
making a calculation pursuant to this definition of “A fier-Tax Basis” be treated as actually realized
if (i) payment thereof is in fact received by the Indemnitee, or (ii) ifat the time of the calculation
of the payment required to be made by the Sublessce to the Indemnitec, the Indemnitee shall have
filed a tax return on which the item resulting in such savings shall have been reported, provided,
however, in cither case, if it shall subsequently be determined that the Indemnitee is not entitled
to such savings, such lost savings shall be treated as a Tax for which the Sublessee is obligated to
indemnify the Sublessee hereunder without regard to any exception for Excluded Taxes.

“Agreement” has the meaning set forth in the Preamble hereof.

“Agreement Supplement” means a supplement to this Agreement in the form of Exhibit B
hereto.

“Aircraft” means (i) cach Airframe to be delivered and used under this Agreement with the
Engines initially installed on such Airframe, as described in the applicable Agrecment Supplement,
and (ii) all Parts used in connection with such Airframe, all as described in the applicable
Agreement Supplement and (iii) all additions, attachments, accessions, replacements and
substitutions therefor; and collectively, the Airframes, Engines and Parts. Unless the context
otherwise requires, the term “Aircraft” includes all Logs.

“Aircraft Marking” means, with respect to the Aircraft, the marking described in Section
17 of this Agreement.

“Airframe” means (i) each Aircraft (excluding Engines or engines from time to time
installed thereon) specified by United States registration number and Manufacturer’s serial number
in the applicable Agreement Supplement and (ii) any and all Replacement Parts, so long as same
are incorporated or installed in or attached thereto or which have been removed therefrom but
where title to which remains vested in the Lessor in accordance with the terms of Section 14; and
any replacement airframe which may from time to time be substituted therefor pursuant to Section

19(a).

“Alterations” has the meaning set forth in Section 14 of this Agreement.

_ “Authorized Officer” means (i) any of the Chairman of the Board, Vice Chairman of the
Board, President, Executive Vice President, Senior Vice President, Vice President or the Treasurer
of any Person and (ii) any other individual designated in writing by any officer of such Person
specified in clause (i) above or duly authorized to act on behalf of such Person with respect to this
Agreement.

“Base Term” means with respect to each Aircraft, the period commencing on the applicable
Base Term Commencement Date and ending on the Base Term Expiry Date.

“Base Term Commencement Date” has the meaning set forth in Section 4 of this
Agreement.

A-2
735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 49 of 80

“Base Term Expiry Date” means with respect to each Aircrafi, the fifth (5"") anniversary
of the Delivery Date of such Aircrafl.

“Basic Payment” means with respect to each Aircraft, 1.35% of the Lessor’s Cost of such
Aircraft.

“Basic Payment Date” means for each Aircraft the fifteenth (15") calendar day of each
month commencing on the Base Term Commencement Date for such Aircraft.

“Blocked Person” has the meaning set forth in Section 8(k)(ii) of this Agreement.

“Closing Date” means the date when all the conditions set forth in Section 2(a) and (b) are
satisfied.

“Collateral” has the meaning set forth in Section 31(i) of this Agreement.

“Default” means any event or condition which constitutes or, with the giving of notice or
lapse of time or both, would constitute an Event of Default.

“Default Payment Amount” has the meaning set forth in Section 25(a) of this Agreement.
“Delivery Date” has the meaning set forth on the applicable Agreement Supplement.
“Dollars” and “$” each mean the lawful money of the United States of America.

“Engine” means (i) each of the Engines described and listed by applicable manufacturer’s
serial numbers in the applicable Agreement Supplement and originally installed on the Airframe
covered by such Agreement Supplement (whether or not from time to time thereaficr no longer
installed on such Airframe) and (ii) any Engine which may from time to time be substituted,
pursuant to Section 14 or Section 15 of this Agreement, for an Engine, including an Engine
described in clause (i) above, used hereunder; together in each case with any and all Parts
incorporated or installed in or attached thereto or any and all Parts removed therefrom so Jong as
title to the Parts thereto will remain vested in the Lessor in accordance with the terms of Section
14 of this Agreement after removal from such Engine.

“Event of Default” has the meaning set forth in Section 24 of the Agreement.

“Event of Loss” means with respect to any Aircraft, Airframe or Engine, any of the
following events with respect to such property: (1) loss of such item or the use thercof due to theft,
disappearance for a period in excess of sixty (60) days (or such shorter period ending on the date
on which an insurance settlement has been reached on the basis of a total loss), destruction, damage —
beyond repair or rendition of such item permanently unfit for normal use for any reason
whatsoever; (ii) any damage to such item which results in an insurance settlement with respect to
such item on the basis of a total loss; (iii) the condemnation, confiscation or scizure of, or
requisition of title to such item by any foreign Governmental Authority for a period in excess of
ninety (90) days; (iv) the condemnation, confiscation or seizure of, or requisition of title to such
item by the government of the United States or any political subdivision thereof for a period in
excess of one (1) year (together with the events described in clause (iii). “Requisition of Use”); or

A-3

T3S890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 50 of 80

(v) as a result of any rule, regulation, order or other action by the FAA, or other Governmental
Authority having jurisdiction, the use of such item in the normal course of air transportation of
persons shall have been prohibited for a period of six (6) months or more. The date of such Event
of Loss will be the date of such thefi, disappearance, destruction, damage, Requisition of Use or
unfitness for use for the stated period. An Event of Loss with respect to any Engine will not,
without loss of the Airframe to which it is attached, be deemed an Event of Loss with respect to
the relevant Aircraft. An Event of Loss with respect to an Aircraft shall be deemed to have
occurred if an Event of Loss occurs with respect to the related Airframe.

“Excluded Taxes” with respect to any particular Indemnitec, Taxes which are (A) imposed
on, based on or measured by gross or net income (other than withholding taxes), reccipts, capital
and/or net worth of such Indemnitee and/or any Person holding an interests through such
Indemnitee (however denominated) or doing business, minimum taxes or franchise taxes imposed
on such Indemnitee or Person by the jurisdiction in which such Indemnitce or Person is organized,
a taxing authority thereof or therein or by any other federal or state taxing authority of a United
States jurisdiction as a result of such Indemnitee or Person doing business or maintaining an office
in such jurisdiction or any other present or former connection between such Indemnitee or Person
and the jurisdiction imposing such tax in each of the foregoing cases, other than any such Taxes
that would not have been imposed but for (1) Sublessor having entered into, executed, delivered,
performed, not performed or enforced or failed to enforce the Agreement, the other Operative
Documents or any documents relating thereto or (2) Sublessor’s participation in the Overall
Transaction; (B) imposed on any transfer or other disposition by any Indemnitee of the Aircraft or
any Part thereof or interest therein or any interest of such Indemnitee in this Agreement or any
other Operative Document, other than if a Default or Event of Default shall exist at the time of
such transfer or other disposition; (C) U.S. federal withholding Taxes imposed on amounts payable
to or for the account of such Indemnitee to the extent of the rate at which such Tax would have
been imposed pursuant to a law in effect on the Base Term Commencement Date (or, in the case
of a transferee, on the date such transferee acquired its interest in this Agreement or any other
Operative Document); (D) attributable to such Indemnitee’s failure to deliver the United States
Internal Revenue Service forms specified in Section 21(b) of this Agreement; (F) imposed under
Sections 147] through 1474 of the Internal Revenue Code or any future regulations or
interpretations thercof or any agreement entered into under Section 1471(b) of the Internal
Revenue Code; (G) imposed as a result of the willful misconduct or gross negligence of such
Indemnitee, or (H) imposed with respect to the period after the expiration of the Sublease term sct
forth herein as such term may be renewed in accordance with the provisions hereof, provided that
this clause (H) shall not apply with respect to fees, taxes or other charges related to events
occurring or matters arising prior to or simultaneously with the expiration of the term of this
Agreement or relating to payments to or for the benefit of the Indemnitee under this Agreement
following the expiration of such term. Excluded Taxes shall in no event include (i) any sales and
other Taxes due or payable in connection with the sale of the Aircraft, or (ii) amounts necessary
for any indemnification obligation hereunder to be made on an After-Tax Basis.

“FAA Aircraft Registration Application” means the aircraft registration Form 8050-1 dated
on or prior to the Delivery Date for cach Aircraft by the Lessor.

“FAA Bill of Sale” means a bill of sale on AC Form 8050-2, between the applicable Seller
and the Lessor in respect of an Aircraft.

A-4
735890297
Case 1:21-cv-02092-PAE Document 6-2. Filed 03/11/21 Page 51 of 80

“FAA Counsel” means such aviation counsel as Sublessor may designate.
“FARs” has the meaning set forth in Section 34 of this Agreement.

“First Basic Payment Date” has the meaning sct forth on the applicable Agreement
Supplement.

“Indemnified Taxes” has the meaning set forth in Scction 21(b) of this Agreement.

“Indemnitee” means the Sublessor, its affiliates and the officers, directors, employees and
authorized agents of the Sublessor, including, without limitation the “Sublessor Parent”, as well
as each Indemnitee as defined in the Lease and each Indemnified Party as defined in the Loan

Agreement.
“Interest” has the meaning set forth in Section 5(c) of this Agreement.
“International Registry” has the meaning given to it in the Cape Town Agreements.

“Late Payment Rate” means 6.00% from the date of nonpayment until the amount due is
paid in full (as well as before judgment).

“Lease” means that certain lease agreement by and between the Lessor and the Sublessor
dated as of January 31, 2020, as amended or supplemented from time to time.

“Lender” means Apple Bank for Savings.
“Lessor” means Bank of Utah, not in its individual capacity but solely as Owner Trustce.

“Lessor’s Cost” means the Purchase Price set forth in the applicable Agreement
Supplement.

“Liability” has the meaning set forth in Section 2} (a) of this Agreement.

“Lien” means, with respect to any Aircraft, (i) any lien, charge, mortgage, security interest,
pledge or encumbrance of any kind in respect of such Aircraft or (ii) the interest of a vendor or
lessor under any conditional purchase agreement, capital lease or other title retention agreement
relating to such Aircraft.

“Loan Agreement” means that certain Loan Agreement by and between the Lessor and the
Lender dated as of January 31, 2020, as amended or supplemented from time to time.

“Loaner Engine” has the meaning set forth in Section 15(b) of this Agreement.

“Logs” means, all logs, manuals and data and all inspection, modification and overhaul
records (including all job cards) required to be maintained with respect to the applicable Aircraft
under applicable rules and regulations of the FAA and any other governmental authority having
jurisdiction, together with all records, documents, manuals, data (current and historical), and

A-5

735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 52 of 80

serviceable parts, tags or overhaul records pertaining to the applicable Aircraft or any of its Engines
or Parts.

“Maintenance Program” means (i) the MSP, or Sublessee’s FAA approved maintenance
program in effect on the date hercof or as modified with the approval of the FAA or (ii) any other
FAA approved maintenance program for cach of the Aircraft as the Sublessor may accept in
writing. The Maintenance Program shall encompass scheduled maintenance, condition monitored
maintenance, and on-condition maintenance of the Airframes, Engines and components of the
Aircraft, including, but not limited to, servicing, testing, preventive maintenance, repairs,
structural inspections, structure life. improvements, system checks, overhauls, approved
modifications, service bulletins, engineering orders, ADs and corrosion control inspections and
treatments. All modifications and supplements to the Maintenance Program shall be provided to
the Sublessor upon its request, and the Sublessor shall be given reasonable access to the

Maintenance Program upon its request.

“Manufacturer” means HAC, with respect to the Aircraft, and with respect to the Engines,
avionics or Parts, the manufacturer or supplier thereof.

“Overall Transaction” means all] of those transactions referred to in, provided for in, or
contemplated by, the Operative Documents, including, without limitation, the purchase,
ownership, financing, leasing, operation, management, return, disposition, sale or other
circumstance of any kind or description with respect to the Aircraft contemplated by this
Agreement.

“Part 135 Operator” means an operator holding a certificate authorizing it to operate the
Aircraft in passenger service.

“Parts” means all avionics, appliances, parts, instruments, appurtenances, accessories,
furnishings and other equipment of whatever nature (other than complete Engines), which may
from time to time be incorporated or installed in or attached to the Airframe or either Engine.

“Permitted Liens” means (a) the respective liens, encumbrances and/or rights of the Lessor,
Sublessor, Sublessee or Lender created under or permitted by the Operative Documents; (b) the
rights of others under agreements or arrangements to the extent permitted by the terms of Section
22; (c) Liens for Taxes of, or other government or statutory fees, charges or levies (including any
thercof in respect of any airport or air navigation authority) imposed against, Sublessce, or Liens
for Taxes of any Tax Indemnitee for which Sublessee is obligated to indemnify such Tax
Indemnitee under any of the Operative Documents, in any such case cither not yet duc or being
contested in good faith by appropriate procecdings so long as such proceedings do not involve any
material risk of the sale, forfeiture or loss of any Airframe or Engine or the Sublessor’s or the
Lender’s interest therein; (d) materialmen’s, mechanics’, workers’, repairers’, employces’ or other
like Liens arising in Sublessee’s ordinary course of business for amounts the payment of which is
either not yet delinquent for more than forty-five (45) days or is being contested in good faith by
appropriate proceedings so long as such procecdings do not involve any material risk of the sale,
forfeiture or loss of any Airframe or Engine or the Sublessor’s or the Lender’s interest therein; (e)
Liens arising out of any judgment or award against Sublessce, so long as such judgment shall,
within forty-five (45) days after the entry thercof, have been discharged (by payment, bonding or

A-6

738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 53 of 80 |

otherwise), vacated or execution thereof stayed pending appeal or shall have been discharged,
vacated or reversed within forty-five (45) days after the expiration of such stay or further stayed
prior to enforcement of such Liens; (f} salvage or similar rights of insurers under policies required
to be maintained by Sublessee under Section 20: and (g) any other Lien with respect to which
Sublessce shall have provided a bond, cash collateral or other security in an amount and under
lerms reasonably satisfactory to the Sublessor or which are consented to in writing by the
Sublessor.

“Primary Hangar Location” with respect to the Aircraft, has the meaning set forth in the
Agreement Supplement.

“Proceeds” has the meaning set forth in Section 31(1) of this Agreement.

“Purchase Agreement” means that certain purchase agreement(s) by and between the Seller
and the Sublessee, as amended or supplemented from time to time, including by any change order.

“Purchase Agreement Assignment” means that certain Assignment of the Purchase
Agreement, dated on or about the date hereof, among the Seller, the Sublessee and the Lessor.

“Purchase Agreement Warranty Bill of Sale” means the bill of sale pursuant to which the
Seller conveys the Aircraft to the Lessor under the Purchase Agreement.

“Replacement Parts” has the meaning set forth in Section 14 of this Agreement.
“Required Payments” has the meaning set forth in Section 5(c) of this Agreement.
“Requisition of Use” has the meaning set forth in the definition of “Event of Loss”.

“Residual Value” means, for cach calendar month of the Base Term for cach Aircraft, the
amount set forth in Annex B opposite such month,

“Residual Value Guarantor” means HAC.

“Residual Value Guaranty” or “Residual Value Guarantecs” means the Residual Value
Guaranty for each aircraft dated as of the Closing Date made by the Residual Value Guarantor for
the bencfit of Lessor.

“Security Agreement” means the Security Agreement dated as of the Closing Date between
the Lessor and the Lender.

“Seller” means HAC or the Sublessee, as the case may be.
“Sublessee” has the meaning sct forth in the preamble of this Agreement.

“Sublease Guarantor” means Teijiro Handa.

A-7

735890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 54 of 80

“Sublease Guaranty” means the Guaranty and Indemnification Agreement dated as of the
Closing Date made by the Sublease Guarantor for the benefit of Sublessor and the Sublessor

Parent.
“Sublessor” has the meaning set forth in the preamblic of this Agrecment.

“Sublessor Liens means Liens: (i) which result from acts of, or any failure to act by, or as
a result of claims against, the Sublessor, that are unrelated to the transactions contemplated by the
Operative Documents or (ii) which result from acts of, or any failure to act by, Sublessor in
violation of its obligations under the Operative Documents.

“Sublessor Parent” means American Honda Motor Co., Inc., a California corporation.

“Supplemental Payments” has the meaning set forth in Section 5(b) of this Agreement.

“Tax” means any and all fees (including, without limitation, documentation, license and
registration fees), taxes (including, without limitation, net income, franchise, gross income, gross
receipts, rents, capital, leasing, excise, fuel, excess profits, sales, use, transfer, value added,
property (personal and real, tangible and intangible), lending, occupational, ad valorem,
documentary, excise and stamp taxes), levies, imposts, duties, charges, assessments, or
withholdings of any nature whatsoever, howsoever imposed (whether upon (i) any Indemnitee, (ii)
all or any part of the Aircraft or all or any part of the payments under the Agreement or (iii)
otherwise) now existing or hereafter created or adopted, imposed by any forcign, federal, state or
local governmental or taxing authority, together with any and all penalties, fines, additions to tax
and interest thereon.

“Termination Date” has the meaning set forth in Section 30(a) of this Agreement.

“Termination Payment” has the meaning set forth in Section 19(a) of this Agreement.

“Termination Value” means, with respect to the Aircraft, the sum of the Residual Value
plus all other amounts duc and payable by Sublessee to the Sublessor under this Agreement or the
other Operative Documents, measured as of the date the related Termination Payment is remitted
to the Sublessor.

.“Transaction Expenses” means (i) the reasonable and documented fees and expenses of
special counsel for the Lessor, Sublessor, Sublessee and the Lender; (ii) the reasonable out-of-
pocket costs of the Lessor, the Sublessor and the Lender; (iii) recordation and filing costs of the
Lessor, the Sublessor and the Lender, including all applicable FAA recordation fees and expenses;
(v) the reasonable and documented fees and expenses of FAA counsel to the Lessor, the Sublessor
and the Sublessee; and (vi) any sales and use taxes with respect to the transfer of title to an Aircraft
to the Lessor and the subsequent Icasing by the Sublessor of the Aircraft.10 the extent financed by
the Sublessor at the request of the Sublessec.

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738890297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 55 of 80

EXHIBIT B

AGREEMENT SUPPLEMENT

 

 

_ , 20[¢]
Purchase Price $
Basic Payment $[e]

 

First Basic Payment Date

[o] [¢], 20[¢]

 

Delivery Date

The date above first written

 

Aircraft Manufacturer & Model

[@] Honda Aircraft Company, LLC model (HA-
420] [Elite] Aircraft

 

Manaufacturer’s Serial Number(s)

 

FAA Registration Number(s

 

Airframe(s)

[@] Hours (@] Cycles (as of [e], 20[¢])
[On Pro-Parts and CAMP]

 

Engines Manufacturer & Model

(GE Honda Aero Engines mode] HF120-H1A]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Engine #1:
Engine #2:
Avionics []
Parts [e]
Interior [e]
Exterior [e]
Payment Account [°]
Primary Hanger Location fe]
Place of Delivery to the Sublessor {¢]
Place of Delivery to the Sublessee [¢]

 

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 56 of 80

All capitalized terms used herein and not defined herein shall have the meanings set forth in the
Agreement.
{Signature Pages Follow]

F3SB90297
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 57 of 80

IN. WITNESS WHEREOF, each of the parties has executed and delivered this Agreement
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)

By:
Name:
Title:

735890297
Case 1:21-cv-02092-PAE

WING SPIRIT INC.,
(as the Sublessec)

By:
Name:
Title:

FRSR90297

Document 6-2 Filed 03/11/21 Page 58 of 80
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 59 of 80

EXHIBIT C

RESIDUAL VALUE AMOUNTS

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 60 of 80

 

 

 

 

 

FINAL VERSION
AGREEMENT SUPPLEMENT
January 31, 2020

Purchase Price . [INTENTIONALLY OMITTED FOR FAA

FILING]
Basic Payment [INTENTIONALLY OMITTED FOR FAA

FILING]
First Basic Payment Date February 15, 2020

| Delivery Date The date above first written

Aircraft Manufacturer & Model Manufacturer: Honda Aircraft Company, LLC

Model: HA-420
Marketing Designation: HondaJet Elite

 

 

 

 

 

 

 

 

 

Manufacturer’s Scrial Number(s) 42000155
FAA Registration Number(s) N191 WS
Airframe{s) 113 Hours 106 Cycles as of 29 January 2020 on
CAMP
Engines Manufacturer & Model Manufacturer: GE Honda Aero Engines
Model HF120-HIA
Engine #1: $83423*
Engine #2: 883422*
Avionics Garmin G3000

Manufacture’s Specification and May 2018
Description Date

Interior . Four (4) passenger seats in single club configuration
w/ additional side facing seat in forward cabin.
Interior Color: Moonlight

Exterior HondaJet Custom Paint Scheme

Primary Color: Sunrise Tangerine Mica

Stripe Color: Royal Cobalt Mica

 

 

 

 

 

 

 

Payment Account (@]

Primary Hanger Location PHNL — Honolulu, Hawaii, United States
Place of Delivery to the Lessor PHNL — Honolulu, Hawaii, United States
Place of Delivery to the Lessee PHNL - Honolulu, Hawaii, United States

 

 

 

 

 

All capitalized terms used herein and not defined herein shall have the meanings set forth in the

Agreement.
{Signature Pages Follow]

* Each of which engines has at least 550 rated takeoff horsepower or the equivalent thereof.

Attachment No. /

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 61 of 80

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IN WITNESS WHEREOF, each of the parties has executed and delivered this Agreement
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC, |
(as the Sublessor)

p77 BowwSigned by"

@/ De

B y: Nn DATGECOSEESABD
:

Name: claude praillard
Title: Vice President

 

Agreement Supplement (Sublease)
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 62 of 80

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WING SPIRIT INC.,
(as the Sublessee) 7 Docusigned ty:

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Nee $7BB3FPOCZIZEED

By:
Name:  gean |. Chu
Title:

 

Senior VP and Chief Lega! Officer

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 63 of 80

FINAL VERSION

AGREEMENT SUPPLEMENT

January 31, 2020

 

Purchase Price

| INTENTIONALLY OMITTED FOR FAA

 

FILING]
Basic Payment [INTENTIONALLY OMITTED FOR FAA
FILING]

 

First Basic Payment Date

February 15, 2020

 

 

Delivery Date

The date above first written

 

 

Aircraft Manufacturer & Model

 

Manufacturer: Honda Aircraft Company, LLC
Model: HA-420
Marketing Designation: HondaJet Elite

 

 

 

Manufacturer’s Scrial Number(s) 42000156
FAA Registration Number(s) Ni92WS

 

 

Airframe(s)

138.4 Hours 178 Cycles as of 29 January 2020 on
CAMP

 

Engines Manufacturer & Model

Manufacturer: GE Honda Aero Engines
Model HF120-HIA

 

 

 

 

 

Description Date

Engine #1: 883425*

Engine #2: 883424*
Avionics Garmin G3000
Manufacture’s Specification and May 2018

 

 

Interior Four (4) passenger seats in single club configuration
w/ additional side facing seat in forward cabin.
Interior Color: Moonlight

Exterior HondaJet Custom Paint Scheme

Primary Color: Sunrise Tangerine Mica
Stripe Color: Royal Cobalt Mica

 

Payment Account

[9]

 

Primary Hanger Location

PHNL — Honolulu, Hawaii, United States

 

Place of Delivery to the Lessor

PHNL - Honolulu, Hawaii, United States

 

Place of Delivery to the Lessee

 

 

PHNL ~ Honolulu, Hawait, United States

 

All capitalized terms used herein and not defined herein shall have the meanings set forth in the

Agreement.

[Signature Pages Follow]

* Each of which engines has at least 550 rated takcoff horsepower or the equivalent thercof.

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 64 of 80

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IN WITNESS WHEREOF, each of the parties has executed and delivered this Agreement.
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)
fo Dowudigned by:

° ee
By: 2a7cechansnen

 

Name: claude praillard
Title: Vice President

Agreement Supplement (Sublease)
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 65 of 80

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WING SPIRIT INC.,

(as the Sublessee) /—~Dseuslone
Sea (. Cha

By: \— aassevocaazens

 

Name: Sean |. Chu
Title:
Senior VP and Chief Legal Officer

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Case 1:21-cv-02092-PAE Document6-2 Filed 03/11/21 Page 66 of 80

FINAL VERSION

AGREEMENT SUPPLEMENT

January 31, 2020

 

Purchase Price

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FILING)

 

Basic Payment

[INTENTIONALLY OMITTED FOR FAA
FILING]

 

First Basic Payment Date

February 15, 2020

 

Delivery Date

The date above first written

 

Aircraft Manufacturer & Model

Manufacturer: Honda Aircraft Company, LLC
Model: HA-420
Marketing Designation: HondaJet Elite

 

| Manufacturer’s Scrial Number(s)

42000160

 

FAA Registration FAA Registration Number(s)

N1I93WS

 

Airframe(s)

10.3 Hours 8 Cycles as of 29 January 2020 on
CAMP

 

Engines Manufacturer & Model

Manufacturer: GE Honda Aero Engines
Model HF120-HIA

 

 

 

 

 

| Description Date

Engine #1: 883433*

Engine #2: 883466*
Avionics Garmin G3000
Manufacture’s Specification and May 2018

 

 

 

Interior Four (4) passenger scats in single club configuration
w/ additional side facing seat in forward cabin.
Interior Color: Moonlight

Exterior HondaJet Custom Paint Scheme

Primary Color: Sunrise Tangerine Mica
Stripe Color: Royal Cobalt Mica

 

Payment Account

[*]

 

Primary Hanger Location

PHNL — Honolulu, Hawaii, United States

 

Place of Delivery to the Lessor

KGSO — Greensboro, North Carolina, United States

 

Place of Delivery to the Lessee

 

| KGSO — Greensboro, North Carolina, United States

 

 

All capitalized terms used herein and not defined herein shall have the meanings set forth in the

Agreement,

{Signature Pages Follow]

* Each of which engines has at least 550 rated takeoff horsepower or the equivalent thereof.

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Attachment No
to,

 
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 67 of 80

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IN WITNESS WHEREOF, each of the parties has executed and delivered this Agreement
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)
. (7 DosuBigned py:

ie
B y: P4TQECOIDIOAALG |

Name: claude praillard
Title: Vice President

 

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 68 of 80

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WING SPIRIT INC.,

{as the Sublessec) v=o bp
@ Sean 1. Chun

By: \— reste ronzozege .

 

Nate: sean. Chu

Title:
Senior VP and Chief Legal Officer

736105176 Agreement Supplement (Sublease)
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 69 of 80

FINAL VERSION

AGREEMENT SUPPLEMENT

January 31, 2020

 

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Purchase Price
Basic Payment

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First Basic Pavment Date

February 15, 2020

 

 

Delivery Date

The date above first written

 

Aircraft Manufacturer & Model

 

Manufacturer: Honda Aircraft Company, LLC
Model: HA-420
Marketing Designation: HondaJet Elite

 

 

Manufacturer’s Serial Number(s) 42000161
FAA Registration Number(s) NSSUWS

 

Airframe(s)

6.3 Hours 5 Cycles as of 29 January 2020 on CAMP

 

Engines Manufacturer & Model

Manufacturer: GE Honda Aero Engines
Model HF120-H1A

 

 

 

 

 

 

 

 

Engine #1: 883441*
Engine #2: 883434*

Avionics Garmin G3000

Manufacture’s Specification and May 2018

Description Date

Interior Four (4) passenger scats in single club configuration
w/ additional side facing seat in forward cabin.
Interior Color: Moonlight

Exterior HondaJet Custom Paint Scheme

Primary Color: Sunrise Tangerine Mica
Stripe Color: Royal Cobalt Mica

 

Payment Account

[9]

 

Primary Hanger Location

PHNL — Honolulu, Hawaii, United States

 

Place of Delivery to the Lessor

KGSO - Greensboro, North Carolina, United States

 

Place of Delivery to the Lessee

 

KGSO — Greensboro, North Carolina, United States

 

 

All capitalized terms used herein and not defined herein shall have the meanings set forth in the

Agreement.

[Signature Pages Follow]

* Each of which engines has at least 550 rated takeoff horsepower or the equivalent thercof.

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 70 of 80

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IN WITNESS WHEREOF, each of the parties has executed and delivered this Agreement
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)
(77m Dacuignd by:

@/

By: \non 24708 6029382008.

 

Name: claude praillard
Title, Vice President

Agreement Supplament (Sublease)
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 71 of 80

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WING SPIRIT INC.,
(as the Sublessee) 7 Decudigned by:

@ Sean |. Chu

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By: UBGIFTOC20ED |

 

Name:  gean i. Chu

Title:
Senior VP and Chief Legal Officer

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 72 of 80

FINAL VERSION

AGREEMENT SUPPLEMENT

January 31, 2020

 

Purchase Price

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Basic Payment

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FILING]

 

First Basic Payment Date

February 15, 2020

 

Delivery Date

The date above first written

 

Aircraft Manufacturer & Model

 

Manufacturer: Honda Aircraft Company, LLC
Model: HA-420
Marketing Designation: HondaJet APMG

 

Manufacturer’s Serial Number(s)

42000073

 

N992WS

 

FAA Registration Number(s)
Airframe(s)

15.1 Hours 10 Cycles as of 29 January 2020 on
CAMP

 

Engines Manufacturer & Model

Manufacturer: GE Honda Aero Engines
Model HF120-H1A

 

 

 

 

Avionics

Engine #1: 883221*
Engine #2: 8§83222*
Garmin G3000

 

Manufacture’s Specification and
Description Date

January 2018

 

 

Interior Four (4) passenger seats in single club configuration
w/ additional side facing seat in forward cabin.
Interior Color: Parchment

Exterior HondaJet Signature Paint Scheme

Primary Color: Classic Blue
Stripe Color: Silver Pearl

 

Payment Account

[e]

 

_Primary Hanger Location

PHNL — Honolulu, Hawaii, United States

 

Place of Delivery to the Lessor

KLNK - Lincoln, Nebraska, United States

 

Place of Delivery to the Lessee

 

KLNK — Lincoln, Nebraska, United States

 

 

All capitalized terms used herein and not defined herein shall have the meanings set forth in the

Agreement.

[Signature Pages Follow]

* Each of which engines has at least 550 rated takeoff horsepower or the equivalent thereof.

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 73 of 80

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IN WITNESS WHEREOF, each of the parties has executed and delivered this Agreement
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)
(7 Bosustgned by

Q/ d-
By: ZAPOECHIDIEROD

Name: claude praillard
Title: Vice President

 

Agreement Supplement (Sublease)
 

Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 74 of 80

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WING SPIRIT INC.,,
(as the Sublessee) Docustgnad by:
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By:
Name: Sean. Chu
Title:

 

Senior VP and Chief Legal Officer

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 75 of 80

FINAL VERSION

AGREEMENT SUPPLEMENT

 

January 31, 2020

 

Purchase Price

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Basic Payment

[INTENTIONALLY OMITTED FOR FAA
FILING]

 

First Basic Payment Date

February 15, 2020

 

Delivery Date

The date above first written

 

Aircraft Manufacturer & Model

Manufacturer: Honda Aircraft Company, LLC
Model: HA-420
Marketing Designation: HondaJet APMG

 

Manufacturer’s Serial Number(s)

42000111

 

FAA Registration Number(s)

N994WS

 

 

Airframe(s)

12.8 Hours! 1 Cycles as of 29 January 2020 on
CAMP

 

Engines Manufacturer & Model

Manufacturer: GE Honda Aero Engines
Model HF120-HIA

 

 

 

 

 

Description Date

Engine #1: 883335*

Engine #2: 883334*
Avionics Garmin G3000
Manufacture’s Specification and January 2018

 

 

 

Interior Four (4) passenger seats in single club configuration
w/ additional side facing seat in forward cabin.
Interior Color: Parchment

Exterior HondaJet Signature Paint Scheme

Primary Color: Silver Pearl
Stripe Color: Gray Gradient

 

Payment Account

[*]

 

.|| Primary Hanger Location

PHNL ~— Honolulu, Hawaii, United States

 

Place of Delivery to the Lessor

KLNK — Lincoln, Nebraska, United States

 

Place of Delivery to the Lessee

 

 

KLNK — Lincoln, Nebraska, United States

 

All capitalized terms used herein and not defined herein shall have the meanings set forth in the

Agreement.

[Signature Pages Follow]

* Each of which engines has at least 550 rated takeoff horsepower or the equivalent thereof,

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 76 of 80

DocuSign Envelope 1D: 0A796588-6E2E-426D-9E67-55387D646451

IN WITNESS WHEREOF, each of the parties has executed and delivered this Agreement
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)
. (7 Desubignadt by:

6/4

By: \—2atotenssasszaa

Name: claude orailard
Title: Vice President

 

Agreement Supplement (Sublease)
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 77 of 80

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WING SPIRIT INC.,
(as the Sublessee) DoeuSigned by:

@) Sean |. Ch
By: \—srasie7eczozae9

 

Name:  gean 1. Chu
Title:
Senior VP and Chief Legal Officer

736105176 Agreement Supplement (Sublease)
Case 1:21-cv-02092-PAE Document 6-2. Filed 03/11/21 Page 78 of 80

FINAL VERSION

AGREEMENT SUPPLEMENT

January 31, 2020

 

Purchase Price

[INTENTIONALLY OMITTED FOR FAA
FILING]

 

Basic Payment

[INTENTIONALLY OMITTED FOR FAA
FILING]

 

First Basic Payment Date

February 15, 2020

 

Delivery Date

The date above first written

 

Aircraft Manufacturer & Model

 

Manufacturer: Honda Aircraft Company, LLC
Model: HA-420
Marketing Designation: HondaJet APMG

 

Manufacturer’s Serial Number(s)

42000118

 

N996WS

 

FAA Registration Number(s)
| Airframe(s)

6.7 Hours 5 Cycles as of 29 January 2020 on CAMP

 

Engines Manufacturer & Model

Manufacturer: GE Honda Aero Engines
Model HF120-HIA

 

 

 

 

 

 

Description Date

Engine #1: 883351*

Engine #2: 883352*
Avionics Garmin G3000
Manufacture’s Specification and January 2018

 

 

Interior Four (4) passenger seats in single club configuration
w/ additional side facing seat in forward cabin.
Interior Color: Moonlight

Exterior HondaJet Corporate Paint Scheme

Primary Color: Classic Blue Pearl
Stripe Color: Silver Pearl

 

Payment Account

[@]

 

Primary Hanger Location

PHNL ~ Honolulu, Hawaii, United States

 

Place of Delivery to the Lessor

KGSO ~- Greensboro, North Carolina, United States

 

Place of Delivery to the Lessee

 

KGSO ~ Greensboro, North Carolina, United States

 

 

All capitalized terms used herein and not defined herein shall have the meanings set forth in the

Agreement.

[Signature Pages Follow]

* Each of which engines has at least 550 rated takeoff horsepower or the equivalent thereof.

 

 

Attachment No J]

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Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 79 of 80

DocuSign Envelope 1D: DA796588-6E 2E-4260-9E67-55387D646451

IN WITNESS WHEREOF, each of the parties has executed and delivered this Agreement
Supplement as of the date above first written.

HONDA AIRCRAFT COMPANY, LLC,

(as the Sublessor)
(rm DocuSigned by:

Byt O/ do

Name: claude praillard
Title: Vice President

 

Agreement Supplement (Sublease)
Case 1:21-cv-02092-PAE Document 6-2 Filed 03/11/21 Page 80 of 80

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WING SPIRIT INC.,
(as the Sublessee) —becusignea oy

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\— s7aasrreczzden

By:
Name: sean I. Chu
Title:

 

Senior VP and Chief Legal Officer

736105176 Agreement Supplement (Sublease)
